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 PROPOSED COUNSEL FOR DEBTORS
 AND DEBTORS IN POSSESION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 In re:                                           §
                                                  §      Case No. 21-30085-hdh-11
 NATIONAL RIFLE ASSOCIATION                       §
  OF AMERICA,                                     §
                                                  §      Chapter 11
          Debtor.                                 §

          EMERGENCY JOINT MOTION TO APPROVE AGREEMENT PROVIDING
           REPLACEMENT LIENS AS ADEQUATE PROTECTION OF SECURITY
                      INTEREST IN PERSONAL PROPERTY

          Debtor National Rifle Association of America (the “NRA”) and Sea Girt LLC (“Sea Girt”)

 (collectively, the “Debtors”), as debtors and debtors-in-possession, and Quad/Graphics, Inc.,

 (“Quad” and collectively with the Debtors, the “Parties”) move for an order approving an



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 agreement between the NRA and Quad providing Quad with a replacement lien and administrative

 claim as adequate protection for Quad’s pre-petition security interest/possessory lien in personal

 property owned by the NRA. For cause, the Parties would show as follows:

                                             Synopsis

         1.     Quad provides printing, distribution and related services for the NRA, including

 printing and distributing various regular publications that the NRA publishes for its members and

 others. Under a pre-petition agreement with the NRA, Quad holds a lien on the paper stock

 supplied by the NRA for use by Quad for printing those publications. Quad estimates that as of

 the petition date, it held paper stock belonging to the NRA having a resale value of approximately

 $1,000,000. The NRA intends to continue to engage Quad for printing its publications, which will

 require Quad to use existing pre-petition paper stock. The NRA also intends to continue supplying

 Quad with paper stock sourced from another supplier.

         2.     As reflected in the attached proposed agreed order, the Parties have agreed that to

 the extent of any diminution in the volume or value of the pre-petition paper stock held by Quad,

 Quad shall have both a first priority replacement lien in paper stock provided post-petition by the

 NRA to Quad and an administrative priority claim against the Debtors’ bankruptcy estates.

 Because Quad is entitled to adequate protection of its security interest/possessory lien and,

 moreover, because allowing for Quad’s continued use of pre-petition paper stock to print the

 NRA’s publications is in the best interest of the Debtors and their bankruptcy estates, this Court

 should grant this joint motion and enter the proposed form of agreed order.

                           Jurisdiction and Statutory Basis for Relief

         3.     This Court has jurisdiction over this matter under 28 U.S.C. §1334(b). This matter

 is a core proceeding under 28 U.S.C. §157(b).



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          4.       The statutory and procedural bases for relief for the relief sought include Sections

 105(a), 361, and 363, and Rule 4001(d). 1

                                                Factual Background

          5.       On January 15, 2021 (the “Petition Date”), the Debtors each filed a voluntary

 petition for relief under Chapter 11 of the Bankruptcy Code. The Debtors remain in possession of

 their property and are operating their business as debtors-in-possession in accordance with

 Sections 1107 and 1108 of the Bankruptcy Code. A detailed description of the Debtors’ business,

 capital structure, and the events leading to the Debtors’ bankruptcy is set forth in the Debtors’

 Informational Brief [Docket No. 31] and the Declarations of Shawne Soto [Docket No.10], Robert

 Owens [Docket No. 11], and Sonya Rowling [Docket No. 12], and is incorporated herein by

 reference.

          6.       The NRA and Quad are parties to a certain Integrated Service Agreement (as

 amended from time to time, the “ISA”), under which Quad is the exclusive provider of printing,

 binding, and mailing services for the NRA’s various publications.2 The ISA provides that the

 NRA will furnish Quad with paper for the production of the NRA’s publications. See ISA at §

 11(A). Moreover, the ISA provides that Quad shall have lien on that paper and other property of

 the NRA’s possession to satisfy any past due debts. See ISA at § 6(D).

          7.       Quad estimates that as of the Petition Date, the NRA was indebted to it under the

 ISA for $1,020,929.65. Quad further believes that as of the Petition Date, the paper stock

 belonging to the NRA in Quad’s possession had a market value of approximately $1,000,000.



 1
   Unless otherwise indicated, (a) all statutory references shall be to the United States Bankruptcy Code, Title 11
 United States Code, and (b) all rule references shall be to the Federal Rules of Bankruptcy Procedure.
 2
   A true and correct copy of the ISA is attached to the electronic filing of this joint motion as Exhibit “A’. Parties not
 receiving service electronically may obtain a copy of the ISA by emailing counsel for Quad, care of
 sjames@fjrpllc.com.

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         8.     The NRA’s publications are an essential part of its member services and the NRA

 intends to continue to engage Quad to provide it with the printing and related services necessary

 to produce and provide its publications to its members and others. In total, Quad prints and mails

 approximately 3,800,000 copies of NRA publications per month. These publications are a core

 NRA membership benefit and serve as the NRA’s primary means of communication with its

 members. The publications also serve as a means for distributing membership ballots for votes on

 various NRA matters.

         9.     To continue producing these publications for the NRA, Quad will need to use the

 NRA’s pre-petition paper stock. As reflected in the attached form of agreed order, the Debtors

 and Quad have agreed that as adequate protection of Quad’s security interest/possessory lien in

 the NRA’s pre-petition paper stock, to the extent that there is any diminution in the value of that

 inventory (including any diminution in the quantity of paper stock resulting from its use by Quad

 or a fall in market value of the inventory), Quad shall (1) have a first-priority replacement lien on

 any and all paper and other property provided to Quad by or on behalf of the NRA on or after the

 Petition Date, and (2) to the extent that the replacements liens granted to Quad are not sufficient,

 Quad shall have an administrative expense claim under Sections 503(b) and 507(a) for the

 diminution in value.

                                              Discussion

         10.    Section 363(e) entitles an entity with an interest in the debtor’s property that has

 been or may be used in the debtor’s business operations to adequate protection of the interest. See

 United States v. Whiting Pools, 462 U.S. 198, 203-204 (1983) (“At the secured creditor's

 insistence, the bankruptcy court must place such limits or conditions on the trustee's power to sell,

 use, or lease property as are necessary to protect the creditor.”). Section 361 provides that adequate



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 protection of an entities interest in the debtor’s property may be provided granting the party with

 replacement liens and an administrative priority expense claim.

         11.    The adequate protection terms to which the Parties have agreed are reasonable and

 narrowly tailored to preserve, as opposed to enhance, Quad’s security interest/possessory lien in

 pre-petition paper inventory. Additionally, because the use of that pre-petition inventory to publish

 and deliver the NRA’s publications to its members is an essential part of the NRA’s member

 services, the adequate protection relief requested by the Parties is in the best interest of the NRA’s

 bankruptcy estate.

         Accordingly, the Parties request that the Court enter the proposed form of agreed order

 attached hereto and grant any and all other relief to which the Parties may be entitled.

 Dated: the 4th of February 2021.

                                                       Respectfully submitted,

                                                       FISHMAN JACKSON RONQUILLO PLLC

                                                        /s/ Mark H. Ralston
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                                                       QUAD/GRAPHICS, INC.

                                                       and




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                                                         PROPOSED COUNSEL FOR DEBTORS
                                                         AND DEBTORS IN POSSESSION

                                   CERTIFICATE OF SERVICE

         The undersigned certifies that he caused a true and correct copy of the foregoing document
 to be served on all parties receiving electronic notice of filings in this case through the ECF system
 and on all parties listed on the attached service list by First Class U.S. Mail, on this, the 4th day of
 February, 2021.

                                                          /s/ Mark H. Ralston
                                                         Mark H. Ralston




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                           In re: Sea Girt LLC - Case No. 21-30080
               In re: National Rifle Association of America - Case No. 21-30085

                                   MASTER SERVICE LIST

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                                          U.S. Trustee

  Office of the United States Trustee
  Attn: Lisa Young
  Earle Cabell Federal Building
  1100 Commerce Street, Room 976
  Dallas, TX 75242

                                        Secured Creditors

  Atlantic Union Bank
  Attn: Andrew Kalin
  1800 Robert Fulton Drive, Suite 100
  Reston, VA 20191
  Email: andrew.kalin@atlanticunionbank.com

                                20 Largest Unsecured Creditors

  Ackerman McQueen, Inc.                         Membership Marketing Partners LLC
  1601 Northwest Expressway                      11250 Waples Mill Road, Suite 310
  Oklahoma City, OK 73118-1438                   Fairfax, VA 22030




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  Gould Paper Corporation                        Infocision Management Corp.
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  99 Park Avenue, 10th Floor                     Akron, OH 44333
  New York, NY 10016

  Under Wild Skies                               Valtim Incorporated
  201 N. Union Street, Suite 510                 P.O. Box 114
  Alexandria, VA 22314                           Forest, VA 24551

  Quadgraphics                                   Communications Corp of America
  N63W23075 Hwy. 74                              Attn: Judy Reid
  Sussex, WI 53089                               13195 Freedom Way
                                                 Boston, VA 22713

  Membership Advisors Public REL                 Salesforce.Com, Inc.
  11250 Waples Mill Road, Suite 310              One Mark St. – The Landmark, Suite 300
  Fairfax, VA 22030                              San Francisco, CA 94105

  Mercury Group                                  Speedway Motorsports, Inc.
  1601 NW Expressway, Suite 1100                 P.O. Box 600
  Oklahoma City, OK 73118                        Concord, NC 28026

  Image Direct Group LLC                         Google
  200 Monroe Avenue, Building 4                  1600 Amphitheatre Parkway
  Frederick, MD 21701                            Mountain View, CA 94043-1351

  TMA Direct, Inc.                               United Parcel Services
  12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
  Manassas, VA 20109                             Philadelphia, PA 19170

  Membership Advisors Fund Raising               Stone River Gear, LLC
  11250 Waples Mill Road, Suite 310              P.O. Box 67
  Fairfax, VA 22030                              Bethel, CT 06801

  Krueger Associates, Inc.                       CDW Computer Centers, Inc.
  105 Commerce Drive                             P.O. Box 75723
  Aston, PA 19014                                Chicago, IL 60675

                                       Government Agencies


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  P.O. Box 7346                                  Attn: Letitia James
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                                                 New York, NY 10005




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                                  NATIONAL 1~IFLE ASSOCIATION
                                INTEGRATED SERVICES AGREEMENT

     Quad/Graphics, Inc., Sussex, Wisconsin 53089 {"Quad/Graphics"), a Wisconsin
     COipOi'atiOn, and the National. Rife Association of Arr~erica, Fairfax, Virginia 22030
     {"Customer"), a New York not-for-profit corporation., with addresses as they appear
     below, agree as follows:

     1. Subject of Agreement
     Throughout the Term of finis Agreement, Customer will exclusively purchase from
     QuadlGraphics and QuadlGraphics wi11 sell to Customer all of Customer's requirements
     for ink and production services including preparatory services, platemaking/cylinder
     engraving, printing, binding, railing, list services, and packing and Iflading for shipment,
     and shipping to a suitable United States Pastal service facility for certain flf Customer's
     titles or programs {"Publications") as more fully described in Schedule A ("Work").
     Customer may,from time to time, participate in QuadlGraphics' "IT1LlIt1-bllld" program.
     Such participation sha11 be subject to the terms and conditions contained on Schedule H.
     Customer may also request QuatUGraphics to.perform additional services {including
     custom web printing or direct mail services). If QuadlGraphics has the capacity and
     availability of equipment, facilities, and additional materials, then tie billing of such
     additional services will be in accordance with the attached Price Schedules {fo;~ product
     of similar specification) or applicable sales quotation, as the parties shall mutually agree.

     The Work will be performed by QuadlGraphics an~i paid for by the Customer in
     accordance with the following schedules, which are attached hereto and are made a part.
     hereof:

       Schedule A          Description cif Work
       Schedule B          Preparatory Price Schedule
       Schedule C-1        Manufacturing Price Schedule and Paper Requirements
       Schedule C-2        Distribution Agreement
       Schedule C-3        Guidelines for Third Party Logistics Company or Carrier
       Schedule D          Paper Specifications
       Schedule E          Production Schedule
       Schedule F          Holiday Schedule
       Schedule G          Fayment Terms better
       Schedule H        ~ Multi-Bind Teens

     2. Term of Agreement
     The term cif this Agreement shall be for a period of three {3) years, commencing with
     production of the January 2006 issues of the Work,on or about November 1, Z~fl5 {the
     "Effective Date")and continuing through production of the January 2flfl9 issues of the
     Work, but not. later than December 3l,2008 {the "Term"j.

     3. Pricing
     A.     Pricing for the Work is set forth in the Price Schedules (Schedules B and C-1).



                                       EX. A
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     Pricing may be adjusted in accordance with Section 5.

     B.      Customer recognizes that the pricing is exclusive of sales and use tomes, Any sales
     or use tax imposed upon the Work by federal, state or 1oca1 taxing authorities will be
     added to the invoice and paid for by Customer.

     4. Freight and Postage Casts
     Customer acknowledges that all freight charges and postage costs are additional. In
     advance of the mailing date for Wflrk to be mailed, Customer will ensure that the
     appropriate Postal Service account contains sufficient certified funds to cover
     Quad/Graphics' good-faith estimate of the mailing costs. Ir► the event that
     QuadlGraphics' good-faith estimate of the mailing casts is insufficient to meet the actual
     costs of mailing, QuacUGraphics agrees to pay the difference and to invc►ice Customer for
     that amount..

     In the event that. Customer requires use of a specified.gird party carrier or arranges pick-
     up by a third party carrier, Customer will ensure that suci~ third party carrier adheres to
     the Guidelines for Third Party Logistics Company or Carrier, attached hereto as Schedule
     C-3.

     5. Price Adjustments
     A.       If during any contract year after the date this Agreement becomes effective {the
     first contract year beginning on that date, and ending the following year at 1 i;59 p.m. on
     the date immediately preceding), QuadlGraphics' cast of ink increases or decreases, then
     Customer's prices that include as an element the cost of ink shall be adjusted upward or
     downward to reflect such cost increase or decrease,in accordance with. the following
     table. QuadlGraphics sha11 give Customer 3~ days' notice of any increase ar~ decrease in
     prices due to increases in Quad/Graphics' ink costs.

                            Reported Ink Increasel
                                  Decrease
                               in Contract Year          Percentage of Adjustment
                                   1 A°Io                No increase
                                   2.0%                  No increase
                                   3.0%                  No increase
                                   4A%                   No increase
                                   5.0% +          100% of portion in excess of 3%

                     Examples:
                     i)If the documented increase or decrease of Quad/Graphics' ink costs
     were 2.0% in any contract year, then there would be no price adjustment to Customer's
     ink prices in such contract year.

                     ii) If the documented increase or degrease of ink costs were 5.0% in any
     contract year, then the adjustment in such contract year would be based upon 100% of the
     portion that was in excess of 3.fl%.(i.e. 5.0°Io - 3,fl% = 2.0% x 100°10 = 2%j.
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                    iii) If the documented increase or decrease of QuadlGraphics' ink costs
     were 2°Io during Year 1 of the Term, then there would be no price adjustment to
     Customer's ink prices in Year 1. If the documented increase ar decrease of ink costs were
     then 4.fl% in Year 2 of the Term,then there wauld be no resulting adjustment to
     Customer's ink prices in Year 2.

     The freight rates in the attached Distribution Agreement shall be adjusted to include a
     fuel surcharge. Fuel surcharges will be calculated based on the national diesel. fuel
     average price as reported by the Energy Information Administration, astatistical agency
     cif the U.S. Department of Energy, and passed along pursuant to the table in the
     Distribution Agreement attached hereto. If at any time during the Term the national
     diesel fuel average price as reported by the Energy Information Administration fa11s
     below the price as of the date this Agreement becomes effective, Customer's freight
     rates, as adjusted for the fuel surcharge, shall be reduced accordingly to reflect the
     reduced fuel surcharge.

     B.      Customer will have the right to review ali invoices and other documentation
     relative to increases in pricing as provided herein, Customer shall have the righfi to
     contest any increase in prices under this Section that is not ~raperly substantiated by
     invoices and other documentation, or is not in accordance with this Section.

     C.      During the Terre, manufacturing invoices for the Work shall reflect the
     application. of a ten percent (10.t?°Io) manufacturing discount {"Manufacturing Discount").
     The Manufacturing Discount applies to charges for: press (including platesJcylinders);
     ink; binding; packing/handling; and mailing services performed under the Agreement.
     The Manufacturing Discount does not apply to charges for; preparatory; Quad-supplied
     paper; list management, freight; pos#~age; pflstal savings; storage; and direct charges for
     materials (e.g. custom polywrapj.

     b. Payment Terms

     A.      Payment for services shall be due in accordance with the attached Payment Terms
     Letter.

     B.     Past due invoices are subject.to a service charge of one and cane-half percent(1-
     1/2%)per month nn the outstanding balance. Disp~tetl items hill not be subject to a
     service charge; provided, however, Customer will not withhald payment of undisputed
     items.

     C.     Should there be a substantial adverse change in Customer's credit standing so that
     QuacUGraphics has reasonable grounds fc~r insecurity with respect to Customer's
     compliance with the credit terms of this Agreement, QuadlGraphies has the right to
     request adequate assurance of due performance from Custamer, and Customer shall
     famish such assurances promptly to QuadlGraphics,
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     D.       As security for payments for any sum owed to Quad/Graphics under the terms of
     this Agreement, QuacUGraphics will have the right, in the event that any payment or
     payments by Customer under this Agreement become past due, to retain possession of
     and will have a lien on ali paper and any other property owned by the Customer and in
     Quad/Graphics' possession. In the event that any payment car payments by Customer
     under this Agreement become past due, QuadlGraphics agrees that it shall. retain
     possession only of such portion of Customer's paper ar property as is reasonably
     necessary to secure payment of the amount past due; and QuadlGraphics further agrees
     that it will retain possession of finished Work only if Customer's paper and other
     praperty in QuadlGraphics' possession are insufficient to secure payment of the amount
     past due.

     7. Production Schedule
     Customer delays or errars in furnishing the materials or performing the obligations that it
     is required by this agreement to furnish or perform may result in adjustments to the
     Production Schedule or additional charges for overtime andlor holiday work ft~r
     expedited production; however, QuadlGraphics shall use commercially reasonable efforts
     to avoid scheduling overtime andlor holiday work. If Customer requests changes in the
     Production Schedule, QuadlGraphics wi11 use commercially reasonable efforts to
     accommodate Customer in amending the Production Schedule to put such changes into
     effect.

     8. Change fn Specifications
     Customer may change the details of the specifications of the Work as to such items as
     print Order, page count, paper, type of copy, binding specification., frequency,shipping
     schedules or in any other respect upon giving sufficient notice in writing to
     QuadlGraphics to determine if QuadlGraphics' existing plant, equipmen#, schedule and
     labor force can accommodate the requested changes and to determine the availability of
     additional materials, QuadlGraphics will use commercially reasonable efforts to
     accommodate Customer in putting such changes into effect. Custorr~er acknowledges that
     a change in specifications may result in an adjustment to the Pries Schedules ancUor the
     Production Schedule, as mutually agreed upon by the Parties.

     9. Proofs
     A.       Press Proofs. QuadJGraphics shall furnish Custflmer with confirming proofs on
     all pages for position and content {i,e,, BPs,DBLs). Customer shall. review and provide
     its final. approval fflr the proofs. Quad/Graphics shall not be liable for errflrs in
     Customer's work if: (ij the work is printed per Customer's approval; flr {ii) requests for
     changes are communicated orally. Additional production costs relating to alterations or
     corrections shall be billed at current rates.

     B.       Finishing Proofs. Customer shall. furnish QuadlGraphics withproofs for all.
     V~TSiflI1S O~ ~LtS~OI71~T''s work to confirm desired finishing operations. Quad/Graphics
     shall not be liable fir errors in Customer's work if(i) proofs.are not famished by
     Custflmer; {iij finishing operations are performed per Customer's prtiofs; or (iii) requests
     for changes are communicated orally. Production costs relating to alternations or
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     corrections, not addressed in Schedule B,sha11 be billed at current, reasonable rates.

     10. Materials Furnished By Custamer
     Paper, digital files, and other materials furnished by Customer will b~ properly packed,
     free from dirt, grit, mechanical defects, etc. and will cflmply with Quad/Graphics'
     reasonable specifications, quality and manufacturing standards. Additional costs due to
     delays, impaired production or the repair or replacement cif such materials because of
     Customer's failure to meet such standards will be charged to Customer at QuadlGraphics'
     standard rates. However; in the event that any paper, digital files, or other materials
     furnished by Customer fail to comply with QuacUGraphics' reasonable specifications,
     Quad/Graphics sha11 promptly notify Customer upon its discavery of the non-compliance;
     shall. give Customer the option to remedy the deficiency(ies) through a supplier or
     suppliers of its own choosing within a reasonable time, or to request that Quad/Graphics
     remedy the deficiency{ies); and, subject to the provisions of Section 7,shall make
     commercially reasonable effflrts to avoid taking any action likely to increase Customer's
     damages resulting from the deficiency{ies). Custt~iner is responsible for independently
     seeking recourse from its suppliers with respect to such defective materials. Materials
     furnished by Customer {e.g., inserts) will. include manufacturing waste allowances that
     QuadlGraphics deems adequate, as long as those allowances are reasonable under the
     standards of the printing industry, and will be adjusted to QuadlGraphics' count.
     QuadlGraph cs will not be liable for results caused by the use of any unsuitable or
     unsatisfactory materials furnished by Customer unless directed by Customer, at
     additional cost to Customer, to make corrections, repairs or substitutions QuadJGraphics
     deems necessary.

     Quad/Graphics shall have a duty to proof the color fidelity of all finished Work made
     from film furnished by Customer, and the integrity of digital files furnished by Customer,
     and shall advise Customer of the results of such proofs. In other words, QuadlGraphics
     shall produce proofs from such film and files and shall provide such proofs to Customer
     for approval QuadlGraphics will notify Customer if it detects any corruption of the files.
     Quad/Graphics shall be responsible for the color fidelity of finished Work made from
     film furnished by Customer, and the integrity of digital files furnished by Customer,
     unless Quad/Graphics completes its duties under this paragraph and advises Customer
     that the finished Work/ciigital files produce unacceptable color fidelity, and Custflmer
     fails to take appropriate remedial action. In other words, subject tt~ the manufacturing
     variances referred to in Section 1$ (Performance), QuadJGraphics shall be responsible for
     ensuring that the color fidelity of finished V~ork conforms to the proofs as approved by
     the Customer,

     Any calculation of consumption of Customer-furnished paper will be adjusted for: {a)
     variance between actual weight and the.basis weight specified; and, fib) damaged,
     defective or otherwise nonconforming paper delivered to QuadlGraphics.

     11. Paper
     A.     Customer shall furnish paper for the production of the Wo1~k and such paper will
     be furnished in roll widths as herein set forth, delivered at QuarUGraphics' plant in
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     accordance with the Specifications Schedule,Paper Requirements Schedule and
     QuadlGraphics' specifications for the accounting, shipping, and storage of such paper.
     QuadJGraphics' shipping and mechanical specifications for Customer-furnished paper are
     attached heretti and may be subject to reasonable change fiom time to time. The most
     current version of these specifications may be found at
     http;l/www.gg.com/prodservlpaperspecs.pdf.

     B.      In the event Customer decides QuadlGraphics shall famish paper for the printing
     of inserts or one or more of Custamer's Publications, as more fully described in Schedule
     A,then Customer shall give Quad/Graphics at least ninety (9fl) days' written notice. The
     foregoing notwithstanding, Quad/Graphics will use commercially reasonable effflrts to
     obtain paper upon notice of fewer than ninety {90) days. QuadJGraphics will furnish
     paper for all fozms per the Specifications Schedule and the Paper Specifications Schedule
     (Part l).

     12. Responsibility for Product
     Customer warrants that any matter it furnishes for reproduction does not infringe upon
     any copyright, trademark, or grade name,is not libelous and does not otherwise violate
     any law. Customer agrees to indemnify and hold QuadlGraphics harmless against all.
     claims, damages and expenses, including attorneys' fees, which Quad/Graphics may
     incur as the result of any claims of such violation,

     13. Quantity Variation
     Variations in quantity of up to S,fl00 copies over and no quantity under the number
     ordered, per title, will constitute acceptable delivery and any such excess wi11 be charged
     at the additional thousands rate stated in the Price Schedule. In no event, however,shall
     Customer be obligated to pay for any overage in excess of 5,Ofl0 copies, unless Customer
     sha11 specifically agree to accept said overage, in which case Customer sha11 be charged
     at the additional thousands rate stated in the Price Schedule.

     14, Insurance
     QuadlGraphics agrees to maintain, at its own expense, a comprehensive liability
     insurance policy insuring QuadlGraphics and adding Customer as an additional.insured.
     Said insurance policy.shall have at least a minimum coverage cif one million dollars
     ($l,fl{~~,fl00.00) per single occurrence. Furthermore, QuadlGraphics shall provide
     property insurance naming Customer loss. payee, which shall insure against loss of Work,
     includinginteri'~ork flr Work-in-process, paper, or other property or materials
     belonging to Customer, at replacement value, which nay be in the possession of
     Quad/Graphics, subject tc~ the terms, conditions, defi~iti~ns, exclusions, limits and
     deductibles of.such. policies. Customer's recovery and QuadlGraphics' liability fc~r loss
     or damage wi11 be limited to the proceeds frorz~ QuadlGraphics' insurance.
     QuadlGraphics shall also, at its own expense, obtain and keep in force a policy of
     comprehensive workers' compensation insurance in accordance with the laws of the
     states)in which QuacUGraphics' employees are located at Quad Graphics' facility ai
     which the Work is produced. A11 of said policies (other than workers' compensation
     insurance policies) shall extend coverage to Customer as its respective interest may
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     appear. Such policies shall not be cancelable or subject to material reduction in coverage
     except after ten days' written. natice to Customer.

     15. Title and Risk of Lass
     Title and. risk of loss to interim. and finished Work shall pass to Customer upon delivery
     by QuadlGraphics or its subcontractor{s) to a common or contract carrier or to the U.S.
     Postal Service, F.O,B. QuadlGraphics' or its subcontractor's{s')shipping dock, as the
     case may be, regardless of whether the carrier is owned andlor operated by
     Quad/Graphics.

     Quad/Graphics hereby disclaims any right, title or interest in and to (a) any and ali Work
     hereunder, including interim or in process Work and finished Work,and {b) ail patents,
     copyrights, trade secrets, and other proprietary rights in or based on the images,
     filmlfiles, text, data, or similar  -materials that the Customer provides to
     Quad/Graphics. However, the foregoing shall not be construed to limit the lien granted to
     QuacUGraphics by Section b of this Agreement, or QuadlGraphics'ability to enforce said
     lien.

     Ali mechanicals, paper,film, plates, etc., not supplied by Customer but used to perforrr~
     the V4~ork hereunder shall be and remain the exclusive property of QuadlGraphics unless
     otherwise agreed in writing.

     QuadlGraphics agrees that it shall acquire no right, title or interest in the name,
     trademarks, It~gos, service rriarks, or other proprietary property of Customer except such
     as may be authorized pursuant to the performance of the Work under this Agreement.
     Should any court issue a judgment holding that Quad/Graph cs has acquired any right,
     title or interest in any of the above-named prflprietary property of Customer,except as
     provided in this Agreement, QuacUGraphics hereby agrees to immediately convey the
     same to Custc~~ner, and further agrees.that the premises contained in this Agreement are
     good and sufficient consideration for such conveyance.

     16. Bankruptcy
     If either party hereto shall be adjudicated bankrrupt, or an order appointing a receiver for a
     substantial part of its asserks or business shall. be made, or any order shall be made
     approving a petition or answer seeking its'reorganization under any applicable
     bankruptcy law, or it shad make any assignment for the benefit of creditors then, in any
     such event, the other party to this Agr~;ement shall have the option to immediately
     terminate this Agreement by giving written notice of its intention to do so. Any
     termination cif this Agreement made pursuant to the provisions of this section shall not
     relieve either party from any accrued obligations hereunder due or owing at the date of
     such termination.

     1~. Storage
     A.     ~zna1 Files {as herein.defined) will. be stored without charge far a period of thirty
     {30)days from tl~e time of last use unless otherwise specified (i.e. ARM ci~ents). For
     purposes of this Agreement, Final Files refers to the file formal used to create plate{sj
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     andlor cylinder{s). Intermediate digital data will b~ deleted as production is completed or
     as dictated by archiving agreements and pricing. Intermediate digital data is defined as
     Customer-supplied files that are used to create Final Files, intermediate digital data
     includes, but is not limited. to, Quark documents, Illustrator flies, Fonts, EPS,Tiffs,
     PDF's, and LW/CT.

     B.      Unless otherwise directed, finished Work produced by Quad/Graphics,in an
     amount not to exceed i5,0~0 copies, will be stored without charge for up to six months
     after date of receipt into Quad/Graphics' invenxory. Inserts and other semifinished Work
     will be stored. without charge for up to sixty(60)days after date of receipt into
     QuadlGraphics' inventory, provided, however, that QuadlGraphics will store annual
     election ballots without charge for a period of 120 days after the date of the annual
     membership meeting of the Customer. During such respective storage periods,
     QuacUGraphics will request disposition instructions from Customer. At Customer's
     option, upon expiration of the applicable storage period,finished and semi-finished Work
     will be either {a)destroyed,{b)shipped at Customer's expense to a storage and/or
     warehousing facility designated by Customer, or(c)stored at QuadlGraphics at
     QuacUGraphics' prevailing storage rates. If QuadlGraphics does not receive written
     instructions from Customer, QuadlGraphics shall continue to hold the aforementioned.
     ~nat~rials in storage at QuacUGraphics' rates as listed in Schedule C-l.

     C.      On an ongoing basis Quad/Graphics will store up to 2,300,00 }3flU11tIS flf
     Customer-furnished paper without charge. Paper storage will be reviewed as of the last
     day of each month and paper in excess of 2,30fl,000 pounds will be charged for storage at
     the rate as listed in schedule ~-l. QuadlGraphics reserves the right to review the storage
     allowance after eight(8)issues and to propose to Customer a change to the storage
     allowance based upon that review.

     18. Performance
     QuadlGraphics represents that the Work vain be produced with good. workmanship in
     accordance with the terms o~ this Agreement and standards acceptable in the printing
     industry, but no Other express or implied warranty, including fitness for a particular
     purpose and/flr merchantability, is made with respect to the Work. Because of differences
     111. ~U1~3I31eT1~ 1ilC~ ~7i'OC~SSOS, and reasonable manufacturing variances due to normal
     production operations which are established by trade customs generally accepted in the
     printing industry, delivery ~f Work which. results in a reasonable variation in color
     between prflofs and the completed jflb, or other similar manufacturing variances, which
     are reasonable under the generally accepted trade customs in tl~e pz~z~ting industry, shall
     constitute acceptable delivery.

     19. Cr~ntngencies
     A.      Neither party shall be liable far delays.in pe~orrr~ance or failure of performance
     to the extent prevented or caused by farce majeure events, Force rnajeure events are
     defined as acts of God,fires, f3oads, earthquakes, tornadoes, explosions, embargoes,
     wars, riots, acts of public enemy, terrorism ar civil disot~edience, governmental acts and
     regulations, inability to obtain materials, energy or carz-~er space, delays of carries or
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     suppliers, pravided any such event is beyond the reasonable cflntrol of the affected party.
     In the event of a force majeure event, the party claiming such event shall give reasonable
     notice to the other party. QuadlGrapl~ics shall use commercially reasonable eff+~rts to
     move the Work ar any part thereof to one or mare of QuadlGraphics' other plants due to
     a force majeure event. Customer sha111~ave the sight to place any part of the Work
     hereunder with another printer for the duration of the period that +QuadlGraphics does not
     move such Work.in accordance with the preceding sentence. If Quad/Graphics cannot
     fully resume the Work at any of its plants within sixty {60) days, then Customer shall
     have tlae right to terminate this Agreement immediately upon written notice.

     B.      In the event that Customer places any part of the Work with another printer in
     accordance with Paragraph.{A), abpve, Customer shall have the right, provided no
     amounts due by Customer to Quad/Graphics are past due, to remove from QuadlGraphics
     plant. any and all proofs, film, and other materials required by the other printer to
     complete the Work. In the event that Customer terminates this Agreement in accordance
     with the preceding paragraph, Customer will have the right to remove from
     Quad/Graphics' plant any and all Work {whether or not completed), proofs, film and
     other materials upon payment to QuadJGraphics for all Work and materials furnished or
     ordered by QuacUGraphics as of the date of the Customer's written notice to
     QuadlGraphics.

     2fl. Indemnity by QuadlGraphics
     A.       QuadlGraphics hereby agrees to indemnify, defend and hold harmless Customer,
     its directors, officers, agents, servants and err~ployees, from. and against any and all
     losses, damages,costs {including reasonable attorneys' fees and all court posts),
     liabilities, claims, causes of actin, or judgments {collectively,"Claims")(but nat
     consequential damages other than consequential damages finally awarded to a third party
     hereunder)that Customer may suffer or incur in the event of a Claim made against
     Customer by any person,firm, corporation or other entity, not due to the sole negligence
     of Custfl~ner, to the extent arising from ~r as a result of any negligent act or omission flf
     QuadlGraphics in performing hereunder, pravded, however, that QuadlGraphics will not
     be liable to Customer for Claims for which Customer has agreed to indemnify
     QuadlGraphics pursuant to Section 12,

      B.      QuadlGraphics sha]l defend, at its sole cost and expense, all Claims subject to
      paragraph {A)with attorneys reasonably acceptable to Customer. In all events, Customer
      shall lave the right to participate in the defense of any such Claims through counsel of its
      own choosing and at its own expense.

      21. Remedy; Limitation cif Liability
      A.    EXCEPT WITH RESPECT TtJ INDEMNIFICA'i'I~N OBLIGATIONS
      HEREUNDER,NEITHER PARTY SHALL BE LIABLE'TO TIC OTHER FOR
      SPECIAL,C41`~tSEQUENTIAL tJR INCIDENTAL DAMA~'iES,

      B.      Freight claims or claims for defective, damaged.ar undelivered goods againsx any
      carrier for transportation of such goods must be made by Customer against the carrier,
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     but QuadlGi~aphics will assist Customer in Customer's pursuit of any such claim.

     C.      All clairn~ for a breech of the representaeions contained in Section 1$ must be
     made by Custo~nex in writing within forty-five (45j days after QuadlGraphics' shipment
     of the affected Work. Failure to make such a claim wi~l~n such period shall constitute an
     irrevocable acceptance of such goods and an admission that the affected Work fully
     complies with all ref the terms and conditions of this Agreement.

     D.      In the event of a material breach of Section 1$ by Quad/Graphics, Customer and.
     Quad/Graphics will negotiate in good faith to reach a mutual agreement on a
     commercially reasonable sales credit or ether reasonable remedy taking into account the
     nature t~f the breach and other relevant factors. QuadlGraphics' liability for a breach of
     Section 18 shall be limited to: Quad/Graphics' price to Customer for printing, and, if
     QuadlGraphics supplied the paper, QuadJGraphics' price to Customer for the paper, or, if
     Customer supplied the paper, Customer's replacement price for the paper, for the pages)
     or fraction thereof involved; or QuadlGraphics' and Custflmer's mutual agreement far
     replacing the defective materials. This provision states the sflle liability of
     QuadlGraphics and the sole remedy of Customer in the event of a breach of Section 18.
     The payment by QuadlGraphics of the sales creditor other remedy will cure the related
     breach.

     E.      Notwithstanding any other provision of this Agreement to the contrary, except
     with respect to ind~rrinification obligations,:the liability of Quad/Graphics arising +gut of
     or related to this Agreement, whether due to QuadlGraphics' negligence, breach flf
     contract, breach of warranty {tither than those contained in Section i8)or any other claim
     at law or equity, W1I~ Ilflt ~XC~~C~ Ql1~CUG1'~p~'IICS' invoiced price allocable to the specific
     portion of the Work that gives rise to liability.

     22. Notices
     Ail notices required car permitted under this Agreement will be in writing and must be
     d~livexed by certified ar registered mail, return receipt requested, by overnight carrier, by
     electronic mail or by facsimile transmission addressed to either party at its address set
     forth below or to such other address, electronic mail address car facsimile number as may
     be directed in writing by the party in question from time to time.

     23. Confi~iez~tial~ty
     A,      QuadlGraph cs shall not disclose, directly or indirectly, to any third party any of
     Customer's subscriber lists (including lists or tapes of subscribers and any listing or
     comp latifln of subscribers provided to QuadlGraphics), membership data, any materials
     or information relating thereto, ter any Other uon-public data, materials or information.
     cs~ncerning Custfl er's business coming to the knowledge of QuacUGraphics, supplied to
     QuadlGraphics by Customer, car otherwise made known to QuacUGrapi~ics as a result of
     QuadlGrapllics' ~erfc~rmance cif the Work (hereinaftex, cc~lle~tively,:referred to as tl~e
     "Confidential Information"), without the prior express written permission of Customer.
     Canfident al Inf~rinat on shall not include information that'{I) is publicly available or
     becomes publicly available other than. as a result of any.act ar omission of QuadlGraph cs
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     or its agents, employees or contractors;(ii) was in the possession. of Quad/Graphics prior
     to disclosure by Customer, provided that Quad/Grapl~ics received such information on a
     non-confidential. basis from a source that had the legal right try make such disclosure; or
     (iii)is legally disclosed to Quad/Graphics by a third party that owes no obligation of
     confidentiality to Customer.

     B.      Quad/Graphics may use Confidential information only for the limited purpose of
     pez-forming the Work. QuadlGraphics may disclose such Confidential Infarmation to
     Qua~lJGraphics' ~rr~ployees but aniy on a need-to-know basis and only to the extant
     necessary to perfarm the Work. QuatUGraphics warrants and agrees to prevent disclosure
     of Confidential Information by its employees, agents, successors, assigns and
     subcontractors. QuadlGraphics,its employees, t~fficers, directors, contractors and agents
     shall comply with any and all commercially reasonable security arrangements imposed
     by Customer respecting access to Confidential Information.

     C.     Quad/Graphics may disclose Confidential Information that is required to be
     disclosed by law, provided that Quad/Graphics gives the Customer notice of such legally
     required disclosure promptly after becoming aware of such requirement and coaperates
     with Customer in taking steps to protect the confidentiality of such information,

     D.      QuacUGraphics acknowledges Customer's exclusive right, title and interest in the
     Confidential Information, and will not at any time do or cause to be done any act or thing
     contesting or in any way impairing or tending to impair any part of such right, title or
     interest.

     E.      QuacUGraphics shall cease and desist from any and ail use of the Confidential.
     Information, and Quad/Graphics shall promptly return to Customer,in a manner
     satisfactory to Customer, any and all Confidential Information, upon request by
     Customer.

     24, Right to Terminate
     A.      If either party ct~mmits a material breach of any material. term, covenant or
     promise in this ag~r~ement, then. the other party may give written notice of said breach to
     the first party, If the first party does not cure said breach within thirty (3fl) days, then the
     second party may, at its discretion, terminate this Agreement immediately upon written
     notice. However, Customer's good-faith dispute ~f any invoice shall not be grounds for
     termination.

     B,     This agreement may be terminated by either party if Customer should
     permanently (for the'Term hereof and six {6j months thereafter) discontinue tl~e
     Publications specified.in Schedule A,

     C.      Upon the expiration or termination of this Agreement:

            i.      QuadlGraphics shall irr~mediately return to the Customer to such dace and
            in such manner as Customer may specify, any and all Confidential. Information,
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             maintained by QuadlGraphics relating to or arising fram the Work that is the
             subject of this Agreement, and any and all of Customer's other property,
             materials, documents,confidential information, etc., that may be in
             QuacUGraphics' possession.

             2.      Customer shall pay all amounts due to QuadlGraphics that Customer does
             not, in good faith, contest r~r claim a setoff against, within thirty {30)days after
             the final invoice for Work andlor materials has been received from
             QuadJGraphics.

     D.      The hold harmless and indemnification obligatians and the confidentiality
     obligations provided for in this Agreement, shall survive any expiration or termination of
     this Agreement.

     25. Discontinuing Publication
     In the event a Publication is discontinued during the Term hereof, Customer shall notify
     QuacUGraphics not less than thirty {30)days prior to the date of proposed discontinuance
     and Customer's obligations to QuadJGraphics hereunder with respect to the Publication
     so discontinued shall cease, except to pay for: {1) Work-in-process up to the later of the
     date the notice is received or the date specified in the notice,(2) Work completed up to
     the later of the date the notice is received or the date specified in the notice but not billed,
     {3) materials {flther than. paper) ordered at Customer's direction before the later of the
     date the notice is received or the date specified in the notice and {4) paper ordered on
     Customer's behalf for which the last day to change the order with the applicable paper
     mill has passed. prior to QuadlGraphcs' receipt of Customer's notice, and except with
     respect to any provisions of this Agreemenk ti~at explicitly survive its expiration or
     termination.. Provided, however, that in the event of the discontinuance of a Publication,
     this Agreement shall terminate only with respect to the Publication discontinued, and
     Customer and QuadlGraph cs shall have no further obligations as aforesaid only with
     respect to fihe discontinued Publication. As used herein, the term "discontinuance" shall
     be deemed to mean a total, permanent cessation:{through the Term and any renewal of
     this Agreement.and six (b) months thereafter only) by Customer, or any assignee,
     licensee, car corporate affiliate of Customer, of publishing the Publicatifln. If Customer,
     ox any assignee, licensee car corporate affiliate of Customer should thereafter resume
     publicatifln of the Publication at any time during the Term.of this Agreement {or any
     renewal ~erec~~j, QuadJGraphics shall have tie rigY~t and obligation.(subject to availability
     Qf equipment and materials) to print the Publication under all of tie terms and conditions
     of this Agreement. For the purposes flf this Agreerr3ent, the term "carpflrate affiliate"
     shall mean any other perst~n flr entity which, dxectly or indirectly, controls oz is
     controlled by, or is under common control with, Customer.

     26. Entire Agreement
     Upon execution ref this Agreement by both the parties.it, as it may be amended from time
     to tune, together with all schedules now and hereafter attached and made a part hereof,
     shall constitute the entire agreement between the parties and shall supersede all other
     written or oral. connmunications, drafts avid representations between.the parties hereto
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     with respect to the subject matter of the Agreement including, without limitation, tie
     Confidentiality Agreement between QuadlGraphics and Customer dated on or about May
     23, 2005.

     27. Amendment
     This Agreement and the schedules made a part hereaf will not be amended or altered in
     any manner unless such amendment or alteration is in writing aid signed on behalf of the
     parties by their duly authorized representatives. All arders and instructions pursuant to
     this Agreement, and all changes thereto, small be in writing and shall be delivered by one
     car more of the means provided.in Section 22, above.

     2$. Choice of Law and Choice flf Jurisdiction
     A.    This Agreement will be construed and the rights of the parties hereunder will be
     governed by the laws of Lhe Commonwealth of Virginia.

     B.      All. legal proceedings relating to the subject matter of this Agreement shall be
     maintained.exclusively in the state ar federal courts sitting within the City of Alexandria
     or the County of Fairfax, Commonwealth of Virginia, and the parties hereby consent and
     agree that jurisdiction and venue for such proceedings shall lie exclusively with such
     courts.

     C.       The parties waive personal service of any process and consent to service by
     certified mail, return receipt requested, directed to the parties at the addresses set forth on
     the final page of this Agreement. Such service in the case of Customer shall be addressed.
     to the attention of its General Counsel. Service so made shall be deemed made three days
     after it has been mailed.

     29. Assignment
     The rights and Obligations of this Agreement shall inure to the benefit of aand be binding
     upon the parties hereto and their respective successors and assigns; provided, however,
     that nfl party may assign, transfer or hypothecate any rights or obligations hereunder, in
     whole or in part, whether by sale of asseks, operation of law or otherwise, without the
     pricy written consent of the other party, which shall not be unreasonably withheld. If
     QuadlGraphics consents to an assignment by Customer, QuadlGraphics sha31 require that
     the assignee and Custa~ner execute an assignment and assumption agreement that is
     satisfactory to QuadlGraphics.

     30. Relationship of the Parties.
     A,       Nothing in this Agreement or in the performance thereof shall be construed tc~
     create an employer-employee relationship,,partnership, sales agency, dealership,joint
     venture or joint employer relatit~nsh p between the Customer and Quad/Grap~ics car
     between Customer and any agent, servant, employee, contractor or subcontractor of
     QuacU~raphics. There is no relations ~p between the parties hereto except as provided
     for in this. Agreement, ~xcepC as expressly set.forth herein, with respect to the production
     of the Work, nothing shall be construed as to authorize either party to obligate the other
     in any manner.
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     B.      Quad/Graphics has no authority to enter into any contracts on Customer's behalf
     nor to pledge, bind or obligate Customer in any manner or far any purpose to any third
     party

     C.       QuadlGraphics shall. pay all costs and expenses in conducting its own business
     and in undertaking any of the Work,services, or activi#ies cc~ntempiated under or related
     to this Agreement,except as otherwise set forth in this Agreement including the Price
     Schedule attached. hereto,

     D.        No individual whose compensation for services is paid by Quad/Gra~hics is in
     any way, directly, indirectly, expressly, or by implication, employed by Customer, Nor
     shall any of them be deemed to be employed by Customer for the purpose of any federal,
     state, or local law, regulation, or ordinance whatsoever, including, but nflt limited to any
     ta~c car withholding of contributions levied by the Social Security Act flr any state law
     with respect to employment, unemployment, disability or compensation fc~r employment.
     QuadlGraphics accepts exclusive liability far any payrail taxes,income taxes,
     withholdings, or contributions imposed by the federal Social Security act or any state law
     with respect to QuadlGraphics or any individual whose services are paid for by
     QuadlGraphics.

     E.      Except as otherwise provided for in this Agreement,and other than tomes levied
     solely upon the net income flf Customer, Customer shall not be responsible for the
     payment of any taxes, fees or charges now or hereinafter imposed by any public
     authorities with respect to the Work,services andJflr any of the activities related to the
     Work or this Agreement, QuadlGraphics shall make all reports required by any public
     authorities with respect to the Work,services and/or any of the activities related to the
     Work.or this Agreement.

     3~, Non-Exclusive
     It is expressly understood and agreed that, other than the Work described in Schedule A
     for the Term of this Agreement, this Agreement is non-exclusive and Customer may enter
     into agreements with other parties for the same or similar services for other publications
     or work.

     32. Survival of Certain 1Vlatters
     Any matter arising under this Agreement that creates a right of a~tian in either party
     against the other party, or the enforcement cif any obligation or undertaking by one party
     against the other, shall survive any expiration or termination.of this Agreement.

     33. Copier Leasing
     Quad/Graphics agrees to, during the Term of this Agreement,lease on behalf of
     Customer two high quality col+~r copiers which will be used to produce color proofs for
     the Work.hereunder, up to a maximum of 5,{30 copies per copier per month. Any copies
     in excess of 5,{ 00 per copier per month shall be billed to Customer by QuacUGraphics, at
     a rate. nc~t to exceed 9.9 cents {$0, 99)per.copy. In the event that one or more such
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     copiers needs to be replaced during the Teem cif this Agreement, Quad/Graphics shall
     lease a replacement copier, capable of producing color proofs of equal quality, to be used
     for the Work. Customer shall be responsible for any damage to such copiers while in
     Customer's possession.


     [THIS SPACE Il~TTENTIONALLY LEFT'BLAI~i~; EXECUTION PAGE F~LLO'~S]
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     TN WTTI~IESS WHEREOF,the parties hereto caused this Agreement to be executed by
     their respective duly authorized representatives as of the following date and year,
     effective on the date.previously set forth in this Agreement.



                                        National Rifle Association of America
                                        112SfJ Waples Mill Road
                                        Fairf~, Virginia 22030

                                        BY
     W1ti18S '                            ~ri18    is-So•✓        ~N~at~~S ~.iv
                                        Title '7~~+t~'rK «~•s i~,c.. ~ ~r~`o
                                        Date{l:  !/./.~q.~~zoos'                     2005

                                        QuadlGraphics, Inc.
                                        N63W23075 Highway 74
                                        Sussex, Wisconsin 53089


     Witness     ~f ~-                  Name          s.a..t
                                        Title
                                            s ^.~c.~...~.~~ ~~f~
     Dated:~~,/~~ ~--                         2005
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                           ~c~~lO~la~ RI~~E ~SSOCIa~lO~ -- QUc~{~~~t'~~~11CS, IBC,
                                                   Integrated Services Agreemenfi



                                               SCHEDULE A -Description of Work




                                                                    °~       e
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  Trim Size:    7-SI8" x i 0-1/2"


  Frequency:    Monthly


  Pages:        Page count:b4-8fl pages 4/C full bleed
                Covers are 4 pages


  Quantity:     450,000


  Prepress:     Customer supplied files -Kodak and Epson proofs
                Please referro Price Listfora detailed costforsupplied NativE Application,lndesign fl2s and
                PDFfiles.


  Paper,        Customer supplied paper:
                Cover- 80~
                Text- 40#


  Press:        Offset: Fourcoiorsthroughout


  lnk           A!I inks meet SWOP standards


  Binding:      Al(pages gathered in the proper sequence and saddle wire bound


  Inserts:      Customer supplied


  Addressing:   Ali banks to be inkje#addressed and mailed asNon-Profit Periodical mail
                Inside inkjet messaging is available. Availability of 16 different locations with 128 lines of
                inkjet


  Location:     The Rock,Georgia




                                                                                                                      .
                                                                                                              Quat~r~ ~i~ ,~ +~.
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                      ~;



  Trim S~Ze:          7-518" x i 0-1I2"


  Frequency:          Monthly


  Pages:              Page counr84-7 20 pages 9IC full bleed
                      Covers are 4 pages


  Quantity:           1,000,000


  Press;              Customer supplied files -Kodak and Epson proofs
                      Please refer to Price listfora detailed costforsupplied Native Applicotion,InDesign Bles andPDF
                      fries.


  Paper.              Custoixier supplied paper:
                      Cover- 80#
                      Text- 40#


  Press:              Offset: Four colors throughout


  inl~                All inks meet SWOP standards


  Binding:            Ail pages gathered in the proper sequence and saddle wire bound


  inserts:            Customer supplied


  Addressing:         Ail books to be in/gei addressed and mailed as Non-Profit Periodical mail
                      Inside +nkjet messaging is available. Availability of 16 different locations with i 28 lines of
                      inkjet.


  Location:           The Rock,Georgia
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  Trim Size:    7-S/8" x 10-112"

  ~requenty:    Monthly

  Pages:        Page count:84-720 pages 4IC full bleed
                Covers are 4 pages

  Quantity:     7,400,000

  Preress:      Customer supplied dies -Kodak and Epson proofs
                Please refer ra Price listfora detailed tossforsupplied Native Application,indesign files and
                PDFfiJes.

  Paper         Customer supplied paper;
                Cover- 80~
                Texi- 40#

  Press:        Offset: Four colors throughout

  Ink           All inks meet SWOP standards

  Binding:      Ali pages gathered in the proper sequence and saddle wire bound

  Inserts:      Customer supplied

  Addressing:   Ail books to be inkjet addressed and mailed as Non-Profit Periodical mail
                inside inkjet messaging is availaole. Availability of 16 different locations with 128lines of
                inkjet.

  Location:     The Rock,Geargia




                                                                                                                                     ,~
                                                                                                                ~   .~'   o.~
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  Trim Size:    7-5/8" x 10-7I2"

  Frequency:    Mot~thiy

  Pages:        Page caunt:64-72 pages 41~ full bleed
                Covers are 4 pages

  Quantity:     54,000

  Prepress:     Customer supplied files -Kodak and Epsan proofs
                Please refer to Price Lisrfora detailed costforsupplied NativeApplicaiion,Indeslgnfiles,and
                PDFfilss.

  Pa}~ec        Customer supplied paper:
                Cover- 80#~
                Text- 40~

  Press:        Offset: dour colors throughout

  in~C          All inks meet SWOP standards

  Binding:      Ali pages gathered in the prayer s~quence acid saddle wire bound

  Inserts:      Customer supplied

  Addressing:   All books to be inkjet addressee! and mailed asNon-Profit Periodical mail
                Inside inkjei messaging is available. Availabilit of 16 different locatio~~s with 128 #fines of
                inkjet.

  Location:     The Rock,Georgia




                                                                                                                                _ ,~~
                                                                                                              Quad     - ~_.~~ ~~~..~
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                            National Rifle Association -Quad/Graphics, Inc.
                                                      Integrated Services Agreement



                                       ~CHEDIJI.E B -Preparatory Price. Schedule
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Pricing
Base 4Ic page includes processing of supplied Vector PDF file, output of fine continuous tone proof
and DBL for page approval.

 ~~ns~~ Pn~~ ~~~rzi c:~ - ~-:anti nuoi,s Torle Pr~ors
 Process r~iultiple colors(Na~~ve A~piication)                                   ~    ~7~.Ufl    der page
 Process multiple colors(PDF or Postscript)                                           $55.00     per page
 Process.mult ple colors {SmartCreate PDF)                                            X50,00     per page

~f3ASE P~~GE PRICE - Kcxlak Approval Pro~(s
Process i a ~ ultiple colors(that+ve Applicationj                                     X80.00     per page
Process multiple colors {PDF or Postscript)                                           $65.00     per page
Process multiple coiars {SmartCreate PI?F)                                            $fi0,00    per page

 2(~~~~E SFRF~,L~ E~(~~l,E~- ~O~111111JOL1S l Of~i'Pf OOIS
 Process multi~ala colors(Native ~ppiicatian)                                        ~120.Ot~    per page
 Process multiple colors{PDF or Postscript)                                           $95.fl0    per page
 Process mi ~ I ~iple color$ {Smar[Create PDF)                                        $90.00     per page

 7_~R~~GE S('REG~D P[~ICE - Kc~~i~~~: /\pprov~il f'~o~(~~
 Process multiple colors(Native Application)                                         ~14C~.00    ~ ~c page
 Process multiple colors {PqF or Postscript)                                         $120.0      per page
 Process multiple colors(SmartCreate PDF)                                            $115.00     per page




     Revised 7/79/05
                                                                                                             j,~C~~~i~ ~~~~~ ~,
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 Preparatory Estimate (continued)

Price List

 ~SEP/~:ATIOf~JlWI~.CC)fWEfZ510N
    274    (:~,~r>r ~..~~~raTion-includes i~ar~d~;ml'ro~f                $50.0 perimage
    372    Coy ~~: ~, rt image -Includes 1 Random Proof                  $35.00 per image

 SILCXJEI IING
    4U~    F'~:rtiai or sirr►pie siil~ouEtte                             ~Z~.Uti
    4fl6   Regular    silhouette                                         X40.00
    4Q9    Complex silhouette                                           $125.00 per hour*

 nrZCx'sl~nDaNs (~ is>;cost of outs i nc E~~ us...                                     _
   337   Create 1/C drop shadow                                          ~`L5.(i0
   338   Create complex drop shadov~                                    $125.00 per hour

 t i ~_E rvv~r~~n~t_r~~~N1
     411        f~etrieve page or image                                  ~ 10.UU
     426        Archive image                                            $70.00 per image
     U9S        Place image                                               $5.00 psr image
     453        Download                                                $250.00 per issue

 ~»ESEci oe ~ncE ~~z~r:Ess~ Ne;
     932        Process muitipie colors(Native Arpli;~at~onj             ~55.fl0     ~e~' page
     13Z        Process multiple colors{PDf or Postscript)               $45.0       per page
     132        Process multiple colors(SmartCreate PDF)                 $40.00      per page
     733        Process single color                                     $1.5.00     per page

 FLECI RC~JI C SYSl EM
     =~J(>      ~_~C(Ut~IIIC S~~S1Cfil Lllllt_'                         ~l [r~ ~~)   ('_'~ ~i(.)Uf`



 PRC)Of 1P~~(=~
     LZl        ~,n~Ot'~fl51ti~~il ~~C~O~                                 :,`x.00     Ir ~,~,~q$

     07$        ~Dti~l(iUOU.,;[Qtl2 ~~04~               ~                ~~5,~'Q      ~'`i ~8~2

     275.       Kodak Approval                                           $50.00       per pale


'this per hour rate isi based in 314 hour increments.




      Reuised 7~39~05
                                                                                                      uadr~ ~~~~: ~~G~
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                            National Rifle Association - QuadJ~raphics, Ir~c.
                                                      Integrated Services Agreement



                                 SCHE~?ULE C-1 -Manufacturing Price Schedule
                                                     and Paper Requirements
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                                        ~IATI~I~AL RIFE /~SSOCIA~TIC~~
                                                 7 5/8" x 10 1 /2" Book Size
(~fi~Sf-~- p~~~~y~/p{~}(                                       Presswork Rates                 80# Basis Weight Requirements
              { 2 x 4)Press Format Cover Forms            Makeready       Run per M      Makeready       Run per M        Rolt Size
    4 Page 4ltotor(as 4's )                                 $1,340A0            $3.50          894#          31,26#            31J50"
    4 Page 5/cotor { as 4's )                               $1,640,04           $3.75         i,fl47#        3.94#           31.750'
                                                                                                                                   :
      Plate change I Press stop, each                         $'130.00                           87#                         31.750"
    b Page gate#otd 4/color { as 6's)                       $1,94t1A0           $8,00           792#          *##.71#        22,50Q"
    b Page gatefold S/color { as 6's)                       $2,300.00           $8.50           9fl7#         44.92#         32.500"
      Plate change 1 Press stop, each                         $930.00                            52#                         ??.500"

                                                               Presswork Rates                900# Basis Weight Requirements
              { 2 x 4)Press Format Cover Forms            Makeready       Run per M      Makeready       Run per M       Rolt Size...
    4 Page Q/color(as 4's )                                 $'1,340.00          $3.5Q        i,{36~#          44.87J1        31.750,.
    4 Page 5/color { as 4's                                 $1,600.00           $3.75        i>369#           49,06#         39,750"
       Ptate change /Press stop, each                         $130.00                          114#                          39.750"
    b .Page gate#old 4/color(as b's )                       $1,940.00           $$.fl0         970#           58.46#         22.5 :,
    6 Page gatefold S/color(as 6's )                        $2,300.00.          $8.50        1,185#           58.73!#        22,50Q..
       Ptate change /Press stop, each                         $330.00                           81#                          22.500"

                                                                Presswork Rates                38# Basis Weight Requirements
              (2 x 4)Press Format Body Forms              t,~akeready      Run per M     Makeready        stun per M     Roll Size
    4 Page 4lcolor(as 4's )                                  $1,340.00           $3.50         3$7#            14.89#        31.75fl„
    4 Page 5icolor { as 4's )                                $1,600.00           $3.~5         497#            14.92#        31.750..
    8 Page 4ltotor{ as 8's )                                 $9>240,00           $5,50         382#            29,28#        31.375"
    8 Page 4icoior{ as 8's )                                 $2,20fl,OQ          $3.50         764#            29.38#        39.375..
    8 Page 5lcotor { as 8's )                                $9,540A0            $7.00         499#            29.48#        39.375"
   )b Page 4/color(as 8's )                                 $3,240A0            $13.00         382#            58.55#        39.375"
   '16 Page ~Icolor { as 16's )                              $2,900.4fl          $6.50         7b9#            58.55#        31,375"
   16 Page 4/color { as 8's )                               $2,?00,00           $7.00          7G-0~t          58.x5#        31.375"
   1b Page 5/color { as 8's )                               $1,Sfl0»D0         $94.flQ         491#            58.96#        31.375"
   32 Page 4/color(as 16's )                                $2,900,00          $33.0 3         764#           137.10#1       33.375,.
       Plate change /Press stop, each                         $13Q.40                           4~#                         31,375:;
       Plate change /Press stop, each                         $130.00                           41#                          31.750.,




   Page 1                                             Quad /Graphics inc.                                           Duty 26, 2005
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                                      NATIONAL. RIFE ASSC3CIATIC?N
                                                        7 5I8" x 10 1 r2" Book s,ze
                                                                      Presswork Rates                  3$# Basis Weight Requirements
             (2 x b)Press Format Body Forms                      Makereadv       Run aer M        Makeready       Run per M      RQ(15ize
  12 Page 4/color { as i2's )                                      $3,6()0.            $4.fl0         1,133#          43.35#        47A00"
  24 Page 4/color { as 24"s)                                       $3,F1Da.00          $7.5fl         9,932#          8b.70#        47,Q00"
  24 Page 4/color { as 8's + 16's)                                 $3,600.00           $$.00          9,132#          86.7U#        47.Ofl0.,
  48 Page 4/color { as 24's)                                       $3,400.00          $15.40          1,432#         173.40#        47.400"
  48 Page 4Jcolor(as 8's + ib's )                                  $3,600.00          $1b.00          1,132#         173.40#        47.000..
     Plate change / Fress stop, each                                 $175.00                             51#                        47.00U.,

                                                                      Presswork Rakes                   38#Basis Weight. Requirements
              { 2 x 8)Press Format Body Forms                    Make~eadv       Run per M        Malceready      Run per lvl     Ro11 Size
   8 Page 4/color  { as 8's )                                      $2,200.00           $3.t?0          3,505#         2$,$2#         6?.504''
  96 Page 4lcotor { as 1b's)                                       $2,100.OD           $5.50           5,505#J        57.b5#          b2.500"
  1b Page 4/color { as 8's )                                       $2,200.00           56.00           1,505t1        37.65#         62.500.,
  33 Page 4Jcgtor(as 32's )                                        S2>400.00          $'J0.50          1,505#        715.29#          62.500"
  32 Page 4/color(as 96's )                                        $3,900.00          $1'f.00          1,505#        115.291f         62.5D0.;
  3? Page 4/color { as 8's )                                       $3,200.00          $12.00           1,505#        115.29#          b2.5fl0"
  64 Page 4icoior { as 32's )                                      $4,000.00          $31.00           1,505#        230.59#          b2.500.,
  b4 Page 4/color.(as 16's )                                       $4,200.00          $32,00           3,505#        230.59#          62.500,;
     Plate change 1 Press stop, each                                 5200.40                              89J#                        62.500^


PRESS PREMIUMS                                                   Makereadv          Run per M      Rate each
     Press paste {per glue line required )                            $25U,{34       ~ $0.50        .~
     Edge slitting                                                    $350.00             $1.54
     Holding time, per hour                                                                           $585.OQ
     Hatding time, per hour {2 x 6 format press )                                                     $750.00
     Holding Lime, per hour(2 x 8 format press )                                                      $830.00

                                                                   Coated                         SCA /Offset
OFFSET 1NK                                                          stack                            stock
   1 Color black, per page, per M                                      So,oa~                          So.oas
   7 Color process solar, per page, per M                              $0.052                          $0.057
   4 Cator black plus process colors, per page, per M                  $0.20Q                          50.220
   i PMS color, per page, per M                                        $0.164                          $0.17b
   1 Metallic, per page, per M { less than 20%)                        $0.480
   1 Gloss varnish, per page, per M                                    $0.56D

                                                                        Presswork Rates                900# Basis Weight Requirements
COVER CflATiNG                                                   n,~a~rpr~arf~     R~~n nar M     Makereadv       Run oer M       Roit Size
     Cover coating UV { foil web)Page i & 4                           $250.00           $1fl.00         304~t           .38#         31.750"
     Cover coating UV ~ full web)one side t~f gate                    $254.00           $95.00          216tt           .54#         22.500"




  Page 2                                                     Quad J Graphics lnc.                                              July 26, 2005
                                                                                                      3372 I Proposal 2 I 7.525 x X0.50 I caj
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                                         ~~~~~~Y~~ ~~~L~ ~~~~~~~~~~~
                                                         7 5l8'' x 10 912" Book Size

SADDl..E $71TCNlNG { t,soo,400 books per stitcher makeready)          Makeready        Run per M
      Base binder (signatures /inserts additional )                        $250.00            $&.00
    4 page signatures /inserts                                               X35.00 ~~^       $1.50
    b page signatures !inserts                                               $35.00 ~.._.,-   $1.50.
    8 page signatures 1 inserts                                              $35,QU           $1.00
   1? page signatures /inserts                                              .$35.00           $1.00
   16 page signatures /inserts                                               $35.OA           $1.
   24 page signatures !inserts                                            ..$35.00            $1.54
   32 page signatures /inserts                                               535,00           $1.75


SADDLE SfiITCHING PREMIUMS                                            Makeready        Run per M           Rate each
                                                                                       e..,.
       Pocketthanges                                                                                           $35.00
                                                                                          ....,._
       Biow-in cards {standard size )                                       $35.00            $1.OD
       Sind-in cards j standard size j                                      $35.U0            $1.00
       Reverse packet insertion                                            $300.00            $3.fl0
       b page gatefold cover                                               $200.AQ            $3.00 ....
       Demographic insertion                                               $2tT0.00            53,U0
       Printer pocket feeder                                               $100.00            $2.00
       Pre-trim inserts, as required                                        $75.00             $2.50
       Code only ink jet unit                                              $300.40            $6.00
       Apply supplied dot whack                                            $150.00             53,00
       Handwork, per hour                                                                                      $50,D0
       Handle supplied inserts /cards                                                         St~.3Q

5AUlJLt 51 I 1 Lt111VC~ MUL 1 i-t511Y1711VC.i fiKtMit1MJ              ma~cereaay       ►tun perm           Kate each
       Up to 20 pockets                                                                         $1.00
       23 to 24 pockets                                                                 ,,._    $2.U0
       25 to 28 pockets                                                                          X3.0(3
       29 to 32 pockets                                                                          $4,fl0
       33 to 36 pockets                                                                          $5.00
       37 to 40 packets                                                                          $6.fl0
       Ait rates apply to the co-binding of dif#erent cities and will be invoiced iq addikion to dem4~raAhic rates listed.above.




   Page 3                                                        Quad /Graphics Inc.                                                    Duty 2b, 2005
                                                                                                               ?772 I Proposal 2 1 7.b25 x 14.50 f caj
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                                          NATIONAL. RiF~E ASS~CIATi~N
                                                           7 5/8" x 10 1/2" Sook Size

PE#2FECT $i~1D1NG { a,soo,060 books per binder makeready)               Makeready        Run per M
       Base binder (signatures /inserts additional )                       $600,00            $20.00
     4 page signatures /inserts {minimum 45# stock )                        $50.Q0             $2.OD
    5 page signatures /inserts                                              $50.00             $1.54
    8 page signatures /inserts                                              $50.Q0             $1,50
   12 page signatures J inserts                                             $50.00             $1.50
   16 page signatures !inserts                                              $50.t10            $i,5fl
   24 page signatures /inserts                                              $50.00             $2.00
   32 pale signatures I inserts                                             $50.00             $2.25


PERFECT BINDING PREMIUMS                                                Makeready        Run per td~    Rate each
       Pocket changes                                                                                       $50.110
       Blow-in cards {standard size )                                       $54.00             $2.00
       Bind-in cards {standard size )                                       $50.00             $3.A4
       Reverse pocket insertion                                            $300.00             $3.00
       b page gatefold cover                                               $20D,40             $3.Q4
       Demographic insertion                                               $200,00             $3,00.
       Printerpackekfeeder                                                 $1Q0.~0             52.00
       Pre-trim inserts, as required                                        $75.00             $2.50
       Code onty ink jet unit                                              $300A0              $b.00
       Apply supplied dot whack                                            $950.00             $3.~fl
       Handwork, per hour                                                                                   $50.00
       Handle supplied inserts !cards                                                           $0.30


PERFf~T BlND1NG MULTI-BINDING PREMIUMS                                  Makeready        Run per M      Rate each
       Up to 20 pockets
       2i to 24 pockets
       25 Lo 28 pockets
       29 to 32 pockets
       33 to 36 pockets
       37 to 40 pockets
       Alt rates apply to the co-binding of different. titles and wii                                                 ~ above,




   Page 4                                                          Quad /Graphics Inc.                                              July 26, ?005
                                                                                                           2172 I Proposal 2 / 7.625 x 10.50 I caj
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                                          NATIOI~A~. RIF~.E A55~JC~ATiON
                                                           7 518"x 10 1 I2" Book Size

IN-LINE 1v1AiLING                                                        Makereadv        Run oer M         Rate each
      Address cover                                                           $300.00               $9.00
      Portabte ink jet unit, per unit                                         5300.00               $3.Q0
      Lis# changes                                                                                              $50.00
      Wide bar sapcfiarge                                                      $500.(30         $8.00
      4th class mail premium { 2 - 3 banks  per  bundle  )                                     $75.00
      4th class mai{ premium {4 - 5 books per bundle )                                         X40.00
      4th class mail premium (b • 8 books per bundle)                                          $25.00
      International mailing premium                                            $300.00         $10.x0
      Magnetic tape proCesSin~ { includes fiygiene, presort Et ink jet fiocmat                  $2.95


flFF-~lNE Iv1~~ILING                                                     Makeready        Run per M         Rate each
      Backstarts setup                                                        5450.00          $95,50
      list changes                                                                                              $50.00
      Folders                                                                               .,...                $0.85
      Envelopes                                                                                                  $0.35


PflLYWRAPPING                                                            Makeready        Run per M         Rate each
      Wrap host book 9n Clear f91m                                            $254,OD          $30.00
      Standard onsert                                                          $54,00           $3.00
      Automatab~e poly iitm upcharge                                                            $8.50.
      Printed poly film wilt be invoiced at cost +10%
      Maintain mail sortakion                                                 $344.U0          $1fl.40
      Pocket changes                                                                                             $50.00


NEWSSTAND COSTS                                                          Makeready        Run per M         Rate each
      Shrinkwrap in bundles                                                                         S~.00

PACKING                                                                  Makeready        Run per M         Rate each
      Bu[k cartons                                                                                                $9..85
      Carder processinS, Rer order                                                                               $10.QD
      Bulk pack on skids                                                                                         524.00
      8u[k pack on skids with sleeves                                                                            $30.fl0
      5hrinkwrap in bundles                                                                         $b.OU


STORAGE                                                                  Makeready        Run per M         Rate each
      Skid s#orage, per month after 60 days                                    S~s.00
      Roll paper storage, over allowance, per cwt




  Page 5                                                            Quad 1 Graphic (nc.                                                  .iuty 2b, 2Q05
                                                                                                                2172 I Proposal 2 / 7.525 x 1Q.50 I caj
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_ ~       t~uad
Company Name: NATIONAL. RIFLE ASSOCIATION                                                        Date. June 13, 2005

As an industry leader, Quad/Data Service understands data driven solutions that implement your marketing strategy.
Understanding the importance of data integrity, integration and data compliance allows process efficiencies and optimization of
cycle times.

*Based on 33 m.~llon an~ivaliy


                                                       List Services                     --        - -                          __ Price
                         --                  --                                                                             -
      1~nn~e,~,1 i~ x'~linitnum #Appiies w l;cis ~l~c total of alt QIDS services Te~~J~,~ ~i Does nat equal the ~~inimum        $ 44a.~fl/INVOICE
      h~edia Load/Formatting *Please sec Media Specification Sheets for m~daa,formats &associated pricing.
      Address Hygiene Includes: Address Std, Crrt coding,ZIP Correction, ZII'+4,DPBC,LC3T & CASS.                                       $ 1.00IM
      Additional Address Integrity services &pricing avaiiabte upon request. {LOT,NCOA,I~SF2,LACS,Data.
      Anal s s
      Presort -Standard Mail                                                                                                            $ t~.7SJM
      Mail.dat *Quad/Graphics                                                                                                                N/C
      Domestic Inkjet Format                                                                                                            $ ~•`~~M



      Line of Travel                                                                                                                    $ 0.45/M
      Merge Purge *Includes: DMA,Prison &Deceased Suppression upon request(Storage and restore flf Multi-                               $ 1.'15/M
      Bu ers at No Char e
      De-Duping                                                                                                                         $ ~.75/Ni
      SelectslSegm~iit~ng                                                                                                               $ 0,I~/M
      Variable Coclin~(Keycoding OR Hard.Coding flR Message Coding OR Version Coding)                                                   $ fl.301M
      Coustaiit Coding(Version Codin OR Keycod ng flR Hard Coding OR Message boding)                                                    $ O.1OIM




 The above pricing is fox estimating purposes only and is subject to change upon xeceipt of files.



A price list not accepted within 90 days is subject to requoting.
For additional information an services, options or pricing, please contact your Corporate Sales Representative ar call QIDS sales
at 41456b-3300
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                           {rational Rifle Association - QuadJGraphics, Inc.
                                                      Integrated services Agreement



                                        SCHEDULE C-2 -Distribution .Agreement
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                    National Rifle Association
                    Integrated Services Agreement
                    Schedule C-2 — Dis#ribu#ion Agreement


                    Mail Pool Drop Shia Rates

                    Customer will be assigned an entry point freight rate based upon each mail pool drop ship cycle loaded into
                    Quad/Graphcs' system.
                    Quad Graphics drop ship rate for bagged or frayed mail: $6.151cwt
                    QuadJGraphics newsstand ship rate: $b.i5/cwt

                    The above rates are for our pooled /consolidated drop ship program; in addix fln to the foregoing, there is a
                    $6th charge per ~nailstream. Drag shipments of mail outside of the normal schetiuie will be quflted a fright
                    rate on an individual basis. If you s~iould decide to withdraw from a mail pool cycle less than nice {9)days
                    prior to the start ship date, then you will be billed for the greater of $2,500 or the actual freight cost.

                    Fuel Surcharge

                    Fuel surcharges are passed. along in accordance with the following. The surcharge will.apply to all pawl
                    shipped praduct and will be adjusted weekly. The national diesel fuel average price is updated every
                    Monday and can be obtained at: http:/Iwww.eia.doe.gov

                        Fuel Price
                        Per Gallon                     Fuel Surcharge

                        $L20 - $1.29                          i%
                        $1.30 - $1.39                         2%
                        $i.4fl - $1.A~9                       3%
                        $1.$0 - $3:.59                        4%
                        $1.60 - $1,69                         5%
                        $i.7fl - $i.79                        6%
                        $1,80 - $1.89                         7%
                        $1.90 - $1.99                         8%
                        $2,~0 - $2.09                         9°Io
                        $2.10 - $2.19                         10%
                        Greater than X2.19                    Additional ane percentage point for every $0.10 increase in
                                                              Fuel Price Per Gallon

                    Entry Point bevels

                    Quad Graphics will drop ship mail to the levels available in our Standard List of Entry Points as of the date
                    of this agreement.

                    Third Party Distribution
                    Guidelines and surcharges for any type of third party shippingldistribut on will be provided upon request.




                    August 31, 2005                                 ~~~DRAFi"*~"                              13pciate~i Au}ust 20t~5
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                            National Rifle Association ~- QuadJGraphics, Inc,
                                                      Integrated Services Agreement



                                      SCHEDULE ~-3 —Guidelines for Third Party.
                                                 ~c~gis ics Ct~mpany car Carrier




                                                          ~uadr~~
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                                            ...
     National Rifle Association
     Integrated Services Agreement
     Schedule C-3 —Guidelines #or Third Party Logistics Company or Carrier

     To insure consistent, efficient and satisfactory distribution of product fiam all QuadlGraphics
     facilities, QuadlGraphics requires all cfients follow the guidelines set fo7~#h below in fhe event a
     client should opt to contract with a Third party logistics company or carrier(a company other than
     Quad/Graphics) to arrange the transportation of that client's product,

         A. Scheduled "Production Dates" published in a corporate schedule once a job has been
            booked for production at QuadlGraphics. Changes to the Production Dates should be
            requested by the client through the Quad Salesperson, or the Quad Customer Service
            Representative(CSR).

         B, Primary contact at Qti~adlGraphics for all mail distribution. issues is the client's Post Press
            Service Representative {PSR).
            Primary contact for ail other distribution issues is the client's Customer Service
            Representative {CSR). All commtu~ications, co~~respondence and required documentation
            should go through these contact people.

         C. For FSI freight,(S) business days prior to the first scheduled production date on press,
            the DISTRIBUTION PLAN,designating the quantity by VERSION and DESTINATION
            is required.

         D. Three(3) business days prior to the first Scheduled Production Dade, t ie client and the
            client's third party logistics company must deliver the following paperwork to
            Quad/Graphics:

                  FOR MAIL:
                       1. All. mailing paperwork, and the load plan {showing each load and the
                            containers that must be on that load) must be provided by the client, and the
                            client's third. party logistics.company to QuadlGraphics, no later than the first.
                            scheduled pz~oducton date. This date is an the QuadlG~•aphics corporate
                            schedule and is also the date the inkjet files are due.
                       2. Bills of Lading
                       ~, Estimated pick-up dates for each load (tl~e dale the load will be picked up
                            Tram Quad)
                       4. LISPS Confirmation numbers (if Quad is to crate the 8125s)
                       5. All correspondence ~~eferenced in sections C and D should be in the form of
                            Email, This is the ~~referred method of communication for all transpol~ation
                            matters between Quad/Grapk~ics and the client'sthird partylogisti~s
                           .company.
                       6. All scheduled pick-ups will. be determined as "date" after their Scheduled
                           3~eparture Date/Time.,
             Az~ay dick-up ~~~~+tsirle of tjiis ~l~in~/o~v mc~y Yequii-e that the ctrrr-ier watt to be ~oc~de~l c~urifxg
             the next available time slot. Other lo~rd~ sc~~clrrled to lie loaded cn~~~2ot he rlelal~e~lfor
             tlwselhnt an~ii~c~ ~~utsidc lhci~~ it~if~do~v. Additioizc~l char~,~es may be trppdied de~~endd~ag o~x
             t12e effect of a chargefrom the sclle~lr~lccll~ick-rip times.
             ift7ae cm~ric j~ is ail~are that they will not ntakc their- Scjiedt~led Dep~n-ti~r~e Drr~elTinze, they
             s]tould atter~r~~t to r~e-sc/~ed1+Ie their rr~~poznPm.enx prior to tt~'f'rvitag rat thefacility.



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              FOR ALL OTHER TYPES OF FREIGHT:
                    1. All."load plans" for other product types should be given to the CSR, who
                        will. enter it into the QuadlGraphics system.
                    2. Bills of Ladin,~
                    3. Estimated pick-up dates for each load {the date the load will be picked up
                        from Quad)
                    4. All correspondence referenced in sections C and D should be in the form of
                        Email. This is the preferred method of communication.for all transportation
                        matters between Quad/Graphics and the client's third party logistics
                        company.......                                                              _
             The CSR will give each Logistics company the usernames of the Quad/Graphics plant
             employees they need to correspond with.

                       5. All scheduled pick-ups will be determined as "late" after their Scheduled
                            Departure Date/Time.
             Ara~~ pick-up outszcle of'this window may require that the carrier wait to be loaded during
             the next available ti»ze slot. Other Ioa~ls scl~edulsd to be loaded cannot be delayedfor
             those that rzrf~ive aactside their window. Addztionczd charges ntay be applied depending on
             tJ2e effect ofa clzatzgefr-orn the scl~eclacled pick-asp tzmes.
             Ifthe cc~r-rier is aware th.~ct they will rzot ~nczke t7iei~~ Scheduled Departure Date%1'i~r~.e, they
             slioula'r~ttef~apt to ~e-schedz~le their ap~oin-tr~zetzt prior to a~-rivi~~g at thefrzcirity.

    NOTE: The client and the client's third party logistics company must contact QuadlGraphics to
    re-schedule or change the final. pick-up dates and times or any Load Plan adjustments, no later
    than one business day {24 hours) prior to the Scheduled Departure Date.

                 ~~`*The dates, times and Load Plan presented in sections C and D are ~xm and.
                 necessary for accurate and timely loading of the product. If changes occur after these
                 final times, Quad/Graphics may apply additional charges.due to increased production
                 and administrative labor necessary to accommodate the changes..*~*

        E. QuadlGraphics will not be a consolidator of multiple issues or titles for the logistics
           company. Requests for Routing changes to include more than one job will be denied.

        F. Any thud-party logistics. provider or carriex you contzact with or hire must both ~1) be
           federally licensed as such; and {2j have insurance coverage of the.types and mirli~num
           amounts set forth in federal statutes and regulations.

        H, QuadlGrapt~ics will not be liable for any loss caused by darriage ofgoods ordelay ~f
           shipment, or for a failure by client or client's third party logistics company tQ co~~~ply
           with these guidelines.

        I.   QuadlGraphcs will not be liable.for any payrn~nts to be made to any third-party logistics
             provider or carrier with whom you,c~ntract ~r hire.

        ~, Third-party logistics providers or carriers should be provided a copy of these guidelines
           priorto them... providing any services.




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                            National Rifle As~oci~tion - Q,uad~Graphics, Inc.
                                                      Integrated Services Agreement



                                               SCHEDULE D -- Paper Specifications




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                        National Rifl+~ Association
                        Integrated Services Agreement
                        Schedule D -Raper Specifications Schedule
                        Part I of Ii

                        i. QuacUGraphcs Furnished Paper
                           A. Quad/Graphics will famish the pager per Customer specifications in accordance with the price
                              schedule. Paper prices are based on current published prices from mills and. paper merchants.
                              Delivery of paper is dependent upon. the acceptance of the order by the mill. The final. price will be
                              that which prevails at the time of shipment from the mill, and the paper will be invoiced to the
                              Customer at such final price plus two percent(2%).

                            B. If QuadlGraphcs-furnished paper is delivered on steel. cores, #hen QuadlGraphics will be
                               responsible for any expense incurred for their return to the mill.

                            C. Quad/Graphics will use its best efforts to assure an adequate supply of paper, but Quad/Graphics
                               cannot guarantee the availability or price of equivalent grade paper as its supply is dependent upon
                               conditions of supply and demand in the paper indusriy.

                        2. Customer Furnished Paper
                           A. Quad/Grap3~ics will receive, handle and store paper as specified. Quad/Graphics will provide
                              adequate storage space> a private railroad siding and truck platform to perform these services. Any
                              excess amount of paper will. be stored, subject to availability of on-site space. If on-site space is not
                              available for the excess amount of paper, Quad/Graghics will assist Cusiamer in arranging to store
                              the paper at a public warehouse. Quad/Graphics assumes noliability for aff-site storage of
                              Customer's gaper. All addirianal costs resulting from.off-site storage, including but not limited ta,
                              demurrage, storage charges, extra loading, freight and drayage charges, additional 3n-plant
                              transportation costs, additional transit damage and waste will be the responsibility of customer.
                              Paper in excess of amounts,specified will be billed at prevailing storage rats.

                            B. Quad/Graphics will provide a report of paper received.for Customer's account within twenty-four
                               {24) hours of`its unloading. Thy report will list both'gross received weight* and gross received
                               weight less fiber cores {if any).

                            C. Supplied paper received in a damaged condition as evidenced by gauges, crushed cores, and/or
                               water damage will be reported..to Customer upon discovery.. Quad/Graphics will file a claim with.
                               the carrier and provide a copy cif such claim and documentation t~ ~ustamer; Customer is
                               responsible for collecting such claim.from the carrier.




                        ~ Reference definitions on page 4 of this schedule.

                        August 26, 2005                                       *`**DRA~I`"x':                                Pale i of 4
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                                                                                                    Natior~ai Rif3e Association
                                                                                              Integrated Services Agreement
                                                                                    Schedule D- Paper Specifications Schedule

                  D. Mill defects in paper supplied by Custamer will be reported to Customer on its monthly inventory
                     repart. QuadlGraphics will file a claim witl3 il~e paper mill and provide a copy of such claim and
                     documentation to Customer; Customer is responsible for callecting such claim from the paper mill.

                  E. QuadlGxaphics will maintain a record of all paper received, paper used and damaged paper. An
                     inveniarq report reflecting paper receipt, usage, and damage figures will be submitted to Customer
                     following each printing.

                  F. If there is overconsumption, then QuadlGraphics will. replace the overconsumed pounds in kind.
                     There will be no annual reconciliation of cansurnption and Quad/Graphics will not share in the
                     value of any net underconsumpiian.

                  G. Any calculation of consumption of Customer-furnished paper will be adjusted for damaged,
                     defective or otherwise nonconforming paper delivered. Customer will be responsible for the actual.
                     basis weight of the paper received and used. The paper requirements apply to the described paper
                     and will be adjusted prflportionately to reflect any changes in roll width or basis weight. The paper
                     consumption allowances are based on the net received weight" of the paper supplied.

                       The paper requirements and production schedule submitted #o you assume that QuadJGraphics
                       will be receiving first-run paper that is backed by a guarantee of performance from the mill of
                       manufacture; paper that is identified as being purchased on the secondary market, rather than
                       the mill of manufacture, is considered to be seconds stock. Customer will be invoiced far any
                       production down time or slowdowns resulting from the paper you furrnish to us. QuadlGraphics
                       will be responsible fflr paper consumption in excess of the requiz~ed paper amounts, except for
                       excess consumption of foreign, seconds or odd Ic~t paper stocks,

                  ~-I. If Customer elects to furnish. odd let or seconds paper, then such paper must be suitable for use on
                       Y~igh speed 4lcolor presses and all paper in a given shipment must originate fxom the same mill and
                       have been produced from not snare than.:two(2) mill nuns. Excessive expense.(lost time and
                       materials)to Quad/Graphics, as a result ofjob lot. or seconds paper, will be paid. by Customer.

                  I.   QuadlGraphcs will maintain an ongoing cycle inventory of Customer's paper. ~Tpc~n reasonable
                       advance notice from ~Custorner, QuadlGraph cs will conduct a physical inventory of customer's
                       paper and fuz~riish reports to Customer. Customer has the right to audit said inventory and will be
                       given access, if necessary, to conduct its own physical inventory.

                  ~. If the paper is supplied on iron cores, then those cores wzll remain the property of Customer. if nat
                     damaged sa as to be unusable, then the cores will be loaded in cars and returned to the respective
                     mills by QuadlGraphics at Customer's direction and expense.




              ~ Reference definitions on the last page of Part I of this Schedule

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                                                                                                     National Rile Association
                                                                                               Integrated Services Agreement.
                                                                                     Schedule D- Paper 5peciYications Schedule


                        K. All paper waste, both white and printed, whether baund or unbound, wi11 become the property of
                           Quad/Graphics.




                    August 26, 2. 05                             ***DRAFT*~                                       J'age 3 of 4
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                                                                                                     tdatiflnal Rifiie Association
                                                                                               Integrated Services Agreement
                                                                                    Sched~~l~ D- Paper Specifications Schedule


             3. Definitions
                A. Gross Received Weight:
                    Includes ail usable and unusable paper, core weight, wrappers and headers.

                 B. Net Received Weight;
                    Gross received weight less the weight of the core.

                 C. Usable Paper:
                    Net received weight less weight of paper damaged in transit.

                 D. Paper through Press:
                    Usable paper less inner and outer strip waste, wrappers and headers.

                 E. Outer Strip Waste:
                    White waste removed from the roll prior to running.

                 F, Inner Strip Waste:
                    White waste left on the core after roll is run.

                 G. Basis Weight:
                    Tie weight of 500 sheets, 25” x 38", of the specified paper.(500 sheets 24" x 36" if newsprint
                    basis, 500 sheets 2fl" x 26" if "cover" basis.)

                 H. Basis Weighe Variance.
                    The difference between the actual basis weight of paper received and the specified basis weight.

                 I. Paper Requirements:
                    Amount of paper required to produce press forms as specified on the Paper Requirements Schedule.
                    'These requirements are based on "Net Received Weight" and allaw for normal strip waste and
                    standard waste allowances required to print and bind the specified press foz~nns.




                                                                         3'~.,<%k                                     ~L~g~ '"t ~~'3
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  This document provides supplier specif+cations For roll   Fc~r Customer Supplied Paper
  paper received by Quad/Graphics,lnc.                          •Customer acknowledgments should be faxed to
                                                                 the individual Quad facilities. Fax numbers and
  Order Acknowledgments                                          plant contacts are listed at the end ofthese
  Far Paper Purchased6y C?uadlGraphics                           specifications.At aminimum,Quad prefers
      • Acknowledgments on all orders should be                  notification on:
       faxed to {4T4-566-9418),or emailed to                         • Cust~~ner Purchase Qrder
       PapecAcknowledgementCgg.com,no laterthan                      .{dill Order #
       one business day after the buyer has placed the
                                                                     •Mil{ {ocat~on
       ordecThe following information should be
                                                                     •Grade name
       included in detail:
                                                                     • Basis weight(B25x38)
             Quad PO#
                                                                     -~2b INIC~T~'i
            • Mili Order ~k
                                                                      Oiameter(s?
           •CWT price
                                                                     • Manufacture date
             Mil! location
                                                                     •Total quantiryordered
             Grade name
                                                                     • Ship date
            • Basis weight(825x8)
                                                                     • Press date
           •Web width
                                                                     • Mode o~ transit
            • Diameter(s)
                                                                     • Core type and diameter
             Manufacture date
                                                                     • Delivery dare
            •Quantity
                                                            This information will help Quad plan for {uture
            • Ship date
                                                            warehousing space requirements and placement.
            • Mode of transit
                                                                •For all offset rolls,it is imperative That the
           -Planned freight cost
                                                                 customer supplies press type information to the
            • Core type and diameter                             piper rraiil, i.e;M300Q {2xb),M3000{2x8),Mi0C30
             fast date of change                                 {2x~), M110,MAN-Roland {4x6)etc. This will be
            -Allocation month                                    used to determine the minimum and
                                                                 maximum outside diameters.
             Delivery window
                                                            Quad>Graphic~ is in the process ~fimplementing the
      ,Quad Paper Purchasln~ mill erraaii the
                                                            PapiNet Messaging Standards and will be requesting
       purchase order the same business day that the
                                                            ghat all Order Acknowledgements,whether for Quad
       order is placed with the paper supplier.
                                                            ordered paper or customer ordered paper,use the
      • Purchase orders +~,~iil ind"+cate pass type.        papiNet Order Ackoowledgemen[ message.




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  ~'aper Specifications {continued)

      Rvl! Weights
        .{~o~{ {abets and manifests should list both gross,
          tare and net weights in pounds,

         -Tare weight includes core and core plugs.

         • All invoices should be based an netweights {r.e.,
          gross weight less tare).

  ~fl~~ ~it~~~t
      •The exact roll width size is required +/-'/i~".

  Roll diameters
                                                                                        -          --
        ----                                                i                    C3iame#er
                                                            ;__— _ _--.   ---- ~ _.___.- --__ _--        g
                       Press                                I Core         Min     ideal j Max    Max Wei ht
                                                          __~---            ----,----__~_
  ~flffset
        U to
    ____~P  --26.5" {C~rstc~rn)
                     -------          -~~ 3„      i _ 4n„ r-- 5fl°       ~ 5~"                      90# I Linear Inch*
  ~    fiver 26.5" and up to 38"(2x4) ~~3"  ~         45
                                                       ~ „ _~ --- _50" - j SO"                      90#I Linear lnch*
                                            n            u  ~        a        n
  t~            ~i              rr     !
       Over 38 and up to 57 {2x6) ---~ ~_- 3-----     45 --~-- 54-_ --~-- 5fl                       5 OflU#
       Over 57°and up #0 72"(2x8)      ~   3°         45° ~        50"   ; 5a"                      8,200#


  ~      L~~~~a — ~~~~~V~~                                        3ro     't5~~    ~iJ       JV~~   7~VVVtt


  ~ West Urginia/4klaht~ma Cit                                                           I
  ~
  t   U to 9b"              _v_                                   3"      S0~
                                                                          45'                50"    ~,8fl~#              _:
  j   Over 9b"and up to 108"                                   ~_ 6" _    45" ~_ 50~

  *~aiexampte: 3dARoHcannotexceed 2,700#,~38"roJlcannoF
  exceed 3,420.
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  1~ap~r Specfficc~~ic~ns tcont,nued)

  QverlUnder flelivery Specifications                         Purchased Paper Claims
      • As of 21112002,for Quad purchased paper,ail           Far Quad Purchased Papers
        Aver shipments on orders greater than 44,000                NotificaCion oFtransit claims will be filed directly
       lbs.* will result in a rejection of the over slipped         with the originating paper mill. M the cases
       roll{s).                                                     v~here paper was shfppe~ from another printer,
         ~nr nr~larc hatwann•        Tnlaranc-a
                                                                    claim documentation will be forwarded to the
                                     + of - 2Q°1a                   papers'owner. Resolution ofthe claim is then
         2,000 to 4,9991b5.
         S,OOQ #0 9,994 i bs.        + or - l 0pla                  the responsibiliCy ofthe owner.
         l 0,OQ0 to 43,999 lbs.      + or - 5°!0                   •Notification of press claims wil! be flied directly
         44,000 lbs. ar more         ~'OT more than to the          with the paper supplier. Quad will provide
                                     nearest roll under
                                                                    evidence of damages.
  * Once a shipment becomes greater than a truckload
                                                                   •Claims are to be resolved within 21 calendar
                                                                    days from the file date.l{ no dispute arises and a
  Basis WeightTc~lerar~ce                                           claim remains unpaid on day 21,QuadlGraphics
      •Overweight paper is not desirabie.The target                 will debit the mill and reference the claim
       should be{rqm nominaE to .25 percent light.                  number.
       The average basis weight should be as close as
                                                                  • Qlsputed claims that remain unresolved aFter 21
       possible to nominal basis weight.
                                                                   calendar days will be forwarded to
 For Quad Purchased Paper                                          Quad/Graphics'Paper Purchasing department
      •Quad will audit basis weight once per quarter                for resolution.
       on an aggregate basis.                                       No time limit exists for Quad discovering
           • I~the average is overweight,Quad may                   concealed water damage. W~ will do our best
            debit the mill and provide documentation.               to report cases as they are discovered.
           • if tl~e ave~'age is underweight,the mi8 will
             receive credit for the following quarter.
                                                              For Cus#nmer Supplied Paper
                                                                   • Press production claims will k~e flied directly
            At the end ofthe calendar year,any ~niN
                                                                     with the customer. Reimbursement from the
            credits will be zeroed out.
                                                                     paper supplier wi11 be the Customer's
     •Quad's basis weight variance calculation will be               responsibility.
      used in verifying average basis weights.Quad's
      caicuiations wi11 supersede mill figures.Quad           $~'i1~p111t„~ R~'COt'C~S
      compares actual impressions to ti~eoretical                   !n order to help insure that paper is received in
      impressions based uponstated ral3 v~eight~, basis             a timely manner,as it is shipped,or before,we
      weight and vridth of X011. if the actual                      askthatthe paper mil3 send Quad/Graphics a
      impressions are less than the iheoreticai                    .copy ofthe shipment manifest by electronic
      impressions that have been calculated,tl~e                    transmission prepared and transmitted in
      paper is considered heavy.                                    accordance with the papNet Delivery Message
       Quart reserves the right to hold ti3e supplier               standard Ro11 size and weight information
       responsible fnr individual orders.                           should. be specified in inches and pounds.




 Version 2.4 1105                                                                                                  uad~
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  PAper Specifications(conrinueci)

  ~l"~11S~flC#~~IOti                                            • Vt~hen the carrier calls for an appaintrnent,they
      •Whether paper is shipped via rail or truck,the             evil! be given an appointment number. This
       following equipment and loading requirements               number will be needed for off loading of roll
       must. be met for the paper to arrive in good              stock,and will expedite unloading.
       Condition. We expect adherence to the
                                                            ~@~IVt'P)!~!lT1111~
       requirements,as they will minimize claims
                                                                •Due dates for a1i deliveries will be noted on
       among other mutually beneficial outcomes.
                                                                 Quad/Graphics Purchase Orders,or to the
       •Quad/Graphics prefers shipments to arrive via            customer on,customer-supplied paper.
        railcar.                                                 Deliveries are to be made seven days prior to
                                                                 press. However,deliveries arriving two days
  Rail Car Loading                                               earlier {nine days prior to press)or two days
       •Quad/graphics prefers railcars with 8 feet or            later {five days prior to press) are acceptable.
        wider doors and with cushioned underframe.               Deliveries which arrive flue or more calendar
       • Do noT bilge load.load all rolls on end,unless          days early may be subject to prevailing
         prior approval for loading patterns is given by         Handling/Storage charges.
        the receiving department.                                 Deifveries Gull! be considered late if paper has
       • load rolls of paper using the guidelines                 +lot arrived oia or before Che specified due data
         prescribed in the Association of American              • Early delivery charges wi11 nat apply to orders
         Railroads Pamphlet 39,or other specific loading         less than 45,0(30 pounds.
        and bracing methods,whicY~ have received
        approval oFihe American Railroads Freight and       Ld'~8 ~@~IV2t'IG5
        Damage Prevention Division.                              Late deliveries will be reviewed by our
                                                                 Purchasing department and paper mills on a
  Ti'U~~C ~Oat~l~'1t,~                                           case-by-case basis.Deliverfes wi11 be considered
       Container and trucWtrailers are to have a                 late if the paper mill fails to meet the mutually
       minimum door opening of92 inches.                         agreed upon delivery dates established by
        Paper is received at all Quad/Graphics Facilities        paper mi11 and communicated to our
        24 hours per day,7 days per v~eek,and most               Purchasing department at the time the order
        holidays, by appointment only.                            was acknowledged.

      •Appointments for each plant are to be made 48            •Deliveries may be re~used~if papershipments
       .hours in advance Monday through Friday,7:00              are late and receiued afterthe job is off press,if
        AJ~ through 5:00 PNi. Truckloads may be                  no furCher identifiable use is found for the
        directed to other Quad facilities upon arrival.          paper,

        QuadlGraphics will not be responsible for           ~pC~ $p~~jf~CatiOt~S
        recgnsigr~ment fees for distances of 10 miles or        •Ali gores are plain high strength fiber
        less.                                                   .Care tYpe should be noted on EDl or packing
      •When calling for an appointment,tl~e                      s~'P,
       PURCHASE ORDER is required to ensure delivery            •Core plugs are requ+red on all rolls v~ith a core
       to the carrect facility,and to accommodate zhe            wall thickness of less than (3.660 inches.
       delivery due date,based on receiving paper 24           'If core vrali thickness is greater than 0.660
       hours a day,7 daysa v~eek                                inches,core plugs will not be required,
                                                                  No metal end caps o~ notches.




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  Paper Specifications lcanrtnued)

      •Core width not to exceed pa{~er width,and not              7~here should be two labels(minimum) with aU
       less than '/~~ inches less than paper width.               required information,atCached to the roll
      •Three inch 1i3 cores are required on ail ro11s less        wrapper by means ofan adhesive backing.
       than or equal to 97 inches.                                Each label should gave the following
       6inch 1D cores required on a1i rolls greaterthan           ~ nformation:
       97 inches.                                                     1) Grade name and type of paper.

 (~i{~ $~~IC~S                                                        2) Sasis weight and rail widti~.
     • No mare than two mil! splices per rofl {any                    3) Gross weight,net and tare weight
       diameter).                                                       (Barcode preferred).
      • too more than 30 mill splices per 100 roils.                  ~J) Mi]! name and mill order number
       All mill splices must be clearly marked on ro11                  (8arcode preferred).
       label and clearly marked on end of roll.                       S) t~i1i roll »umber(Barcode preferred).
       No mlli splices should be within 2 inches of                   G) Publisher name. When purchased by a
       each other.                                                      merchant,the merchant is required to
      • No mill splices can be less than 2 inches from                  famish the Publisher's namelorder
       outside.                                                         number to the mill.

      • No mill splices can be less than 5 inches from                7)Title andlor purchase order number.
       core.                                                          8) Direction of unwind and felt or wire side
                                                                        out.
  Web Break Performance                                               9)Core type &Outside diameter
      -Allowance is three breaks per 10 million I+near
       feet through the press.                                    An additional third label may be placed on the
      -Quad may debit the foNovving for ail web breaks            ~upside of the ro11.
       in excess of3/~Qmm linear feet for offset presses         C2uad/Graphics requests the number of mill
       and'%+~ mm feet for gravure presses:                     .5piices stenciled on the roll label.
           •Gravure:             $1000
                                                                  RoU size and weight informatfan should be in
            M3000{Zx4):          $55fl
                                                                   nches and pounds.
            lv13Q00 {2x6):       $750                             i
           • tvi30Q0(2x8):       5900                        ~0~~ $'k£1'1Cl~irit,~
            ~~;~;                $S5p                           • Rali Number Stenci#s must be on at least one
            Man Roland {2x6?: S750                                end ofthe unwrapped roil;but we prefer that
                                                                  both ends be stenciled.
            t~ian Roland (4x6):5750
     •Quad will provide all evidence claimed.                    •The size ofthe stencil and location must be as
     •Quad will make.reasonable attempts to notify                dose to the core as possible,and no more than
      mill technical personnel as problems arise.                 30 inc}~es from the core as notto 3nterf~re with
                                                                  auto Paster detectors.
  Rolf Labels
                                                                 •Please indicate the roll's. unwind direction evith
       QuadlGraphics requires adherence to the
                                                                  an arrow on roll label.
       9l~EAli3ance Guidelines for Paper Roll and
       Package Labeling Specifications as set forth in
       1DEAIlance Standard 7 32-i997,and the North
       American Rolf Identifier IDEANiance Standard-
       1995.




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      t~~1 ~~~~ r~~s
  S~ass~x,1~l~.
  Plant Address:      Nb3 W23075 Highv~ay 74
                      Sussex,WI 53089
  Ship ~'o Address:
       Truck:         N63 W23075 Highway 74
                      Sussex,WI 53089
                      Deliveries to dock doors i to 6
                      Phone: {414) Sb5-2503
                      Fax;      (414)556-9558


       Rail:          Canadian National
                      N63 W23Q75 Highway 74
                      Sussex,W153089

  p~a11t ~Otl~aCfiS
      PaperWarehousir~g:                  Phone: {434)556-2503
                                          Fax:      {4]4) Sbb-9558


       Electronic Transmissions:          Phone: {4i4)5b6-6000
                                          Information Systems DepartmenC

  Ti'~I3S~,10P'~d~lOi1 ~I'1S'CtUCtIOItS
  Sussex facility cannot receive short height containers -does not have the ability to unload shipment -inside
  height clearance must be at least 92 inches.

  Rail Carrier
  Canadian National

 [7eliver~ In#c~rma~ion
  Paper is received at Qua~IGraphics-Sussex facility 24 hours per day,7days per aveek,and most holidays,
  By Appc~intme~t Only.

  Appointments for Sussex plant are to ~e made X38 hours in advance,MUnday through Friday,7:00 AM through 5:00
  ~t~,~z_{474)566-2503. When tl~e carrier calls for an appointmept,they will begiven an appoir~Cment number.This
  number will be needed for off loading of roll stock.

  YVl~en calling for an appointment thePURCNASE ORDER is required to ensure delivery L~ the correctfacility,and
  to accommodate delivery due date,based on receiving paper 24 hours a ~1ay,7 days a week.




  Version 2.0 9105
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  ~u~~1~~~ I~~
  Pe~nraukee, is.
  Plant Address:      N224 W3322 Dupiainviile Road
                      Pewaukee,W153072
  Ship To Address:

      Trucl~          N224 W3322 Duplainville Roac9
                      Pewaukee,WI
                      Deliveries to dock doors 21 to 22
                      Phone: {4]4)566-6272
                      Fax:     {414) Sb6-6210


       Rail:          Canadian National
                      N224 W3322 Duplainville Road
                      Duplainville,WI 53072

  ~~~tl'k ~Ot1t8C#5
       Paper Warehousing:                 Phone: {414)566-6272
                                          Fax:      {414)566-b210


       Electronic Transmissions:          Phone: {414)56b-6000
                                          Information Systems Department

  Transportation lns#ructions
  Pewaukee facility cannot receive short height containers -does not have the ability to unload shipment -inside
  height clearance must be at least 92 inches..

  ~~i~ [dl'Titt`
  Canadian National

  delivery Informs#ion
  Paper isreceived at QuadlGraphics-Pewaukee fa~ili[y 24 tours per day,7 days per week,and most holidays,
  ~Y ~PP~intment Only.
  Appointments for Pewaukee plant are to be made 4$ hours in advance,Monday through Friday,7:00 AM Through
  S:{~ PM,at {4~ 4)56b-6272. Wien the carrier calls for an appointment,ihey vviii be give~i an appointment number..
  This number wi0 be needed for off loading of roll stock.

  When calling for a~ appointment,the PURCHASE ORDER is required tp ensure delivery to the correct facility,ar~d
  to accommodate delivery due date;based on receiving paper 24 hours a day,7 days a week




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  C~a~~1rhi~c~ ~~~~
  ~e~t ~,~~~~,v~~~.
  Plarrt Address:       555 South 108th Street
                        West Allis,Vdl 532iG
  Ship To Address:
       Truck:           555 Sourh 108th Street
                        West Allis,Wl 53214
                        Deliveries to dock Boars 26,27 and 28
                        Phone: {4i4)566-3192
                        Fax:     (4i4)566-9320


       Raiff:           Nane

  ~~dJl'~ ~4tlt~ttS
       Paper Warehousing:                      Phone: (434)56G-3192
                                               Fax:    (4i4)566-9320


       ElectronicTransmissians:                Phone: (414)5bb-6t~Q0
                                               Information Systems Department

  Transpor#a#iQn Instructions
  West Allis facPlity cannot rece9ve shorC height conCainers -does not have the ability to unload shipment -inside
  height clearance must be at least 92 inches,

  Rail Carrier
  Not rai! accessible

  Delivery lnfiarmaton
  Paper is received at Quad/Graphics-West Allis facility 24 hours per day,7 days per week,and most holidays,
  8y Appointment{~n1~.

  Appointments far Vest Allis plant are to be made 4$ hours in advance,.Monday through Friday,700 AM through
  5:00PM,at(414)5b6-.3192: When the carrier calls for an appraintment,they will be given an appointmenC number.
  This number will be needed for off loading of roll stock.

  When calling {or an appointment,the PURCHASE ORDER is required to ensure delivery to the correcT facility,and
  to accommodate delivery due date,based on receiving paper 24 hours a day,7 clays a week.




  Version 2.0 iI05                                                                                                   llt3t~~~ ~7~C°
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  t~e~l~rh~c~ ~r~~.
  r~a~~~~~~,~~.
  Plant Address:      1900 West Sumner Street
                      Hartford,Wl 53027
  ShipTa Address;
       Ttucic         1900 West Sumner Street
                      Hartford,Wi 53027
                      Deliveries to clock doors 3-8
                      Phone: (262)673-1748
                      fax:      {Zb2) b73-1670


       Rail:          WSOR
                      i 900 West Sumner Street
                      HartFo{d,Wl 53027

  ~~di'I~ ~fl1lt~C~S
       Paper Warehousing:                 Phone: (2b2)673-~ 3 2i
                                          Fax    {262}673-1670


       Eieck'ronicTransmissions:          Phone: (414)566-b000
                                          Information Systems Department

  Transpc~rta#ion Instructions
  Hartford fiacility cannot receive short height Containers -does not have the ability to unload shipment- inside
  heiGh~ clearance must be ai least 92 inches.

  ~,~1~ CaPi'IEI'
  WSOR

  Delivery lnformatic~n
  Paper is received at Quad/Graphics-Hartford facility 24 hours per day,7 days per week,and. most holidays,
  ~Y APP~intment only.
  Appantments for Hartford plant are to be made98 hours in advance,Monday through Friday,7:00 AM through
  S:C30 Pt~4,at {262)673-7148. When the carrier ca11s fot an appointmerat,they will begiven an appointrnentnumber.
  This number will be needed for off loading of roil stock.
  When ca7iing for an appointment,the PiJRCHASf ORDER is required to ensure deAvery to the correct facility and
  t~ accommodate delivery due date,based on receiving paper 24 hours a day,7 days a week.
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  Plant Address:      952 Badger Road
                      Lomira,WI 53048
  Ship To Address:
       Truck:         952 Badger Road
                      Lomira,WI 53048
                      The paper of{ice is located in the southeast corner,between dock doors 3 and 2
                      Phone: {920) 269-5522
                      Fax:      {920) 269-7032


       Rail           Canadian National
                      952 Badger Road
                      ~omira,W153048

  P~~!'1'~ COC1t~Ct5
       Paper Warehousing:                  Phone: {920) 2b9-5522
                                           Fax:      {920) 269-7032


       Elettranic Transmissions:           Phone: {9i4)5b5-600
                                           information Systems Department

  ~i'dtlS~flr#a~lOi1 ~11S~i'UCt10~'15
  ~omira {acility cannot receive short height containers -does not have the ability to unioadshipment-inside
  height clearance must beat least 92 inches.

  ~81~ ~3t'1'l8t'
  Canadian National

  flelivery lnfc~rmation
  Paper is received ac Quad/Graphics-Lorriira #acility 24 hours per day,7 days per week,and most holidays,
  $Y ~PPoi~tment Only.
  Appointments for Lornira plant are to be made 48 hours in advance;Monday through Friday,7:00 AhQ #hrou~h
  5.fl0 PM,~t{920)2b95522. VVl~en the carrier calls fior ark appointmer3t,#hey uu%ill be given are appointment number.
  This number wil! be needed for off loading o~ roil stock

  When calling Per an appointment,the PURCHASE ORDER is required to ensure delivery to the correct facility,and
  zo accommodate delivery due date,based on receiving paper 24 hours a day,7 days a week..
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  {~t~~Ir~~~11~c~ ~~t~e
  Sar~toc~~ Springs,N.Y,
  Plant Address:      56 Dupla~nville Road
                      Saratoga Springs, NY 7286b
  Ship Ta Address

       Trutic         56 Dupiainviile Road
                      Saratoga Springs,NY 728b6
                      Deliveries to dock Boars 4-5,31-36
                      Phone: {518)581-4349
                      Fax:      {518)581-4884


       Rail:          Sb Duplainville Road
                      Saratoga Springs, NY 1286b

  PJdllt COtl#dC~S
      Paper Warehousing:                  Phone: (518)581-A349
                                          Fax:      (518)581-4884


       ElectronicTransmissinns:           Phone:. (414)566-6000
                                          lnFormation Systems Department

  Transportatit~n Instructions
  Saratoga Springs facility cannot receive short height containers - daes not have the ability to unload shipment
  inside height clearance must be at 12ast 92 inches.

  Rail Carrier
  Canadian Pacific Railv~ay

  delivery lnformatian
  Paper is received at Quad/Graphics-Saratoga Springs facility 24 hours per day,7 days per week,and most holidays,
  Vii'APPotntment Only.
  Appoinrmen~s for Saratoga Springs pions are to bemade Q8 hours 9n advance,Monday through ~iday,7:00 Alvl
  through 5:00 PM,at {5 i 8)581-9-349, When the carrier tolls for an appointmentthey v~ri11 be gven an appontmenr
  numb~r.This number will be needed far offloading of roll stock.

  1Nhen calling for an appt~intment,the PURCHASE ORDER is required to ensure delivery to the correct facility,and
  to ac4ommadate delivery due date,based on receiving piper 24 hours a day,7 days a week
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  C~c~,c~~t~r~~~~ ~r~,
  M~rtnsbu~r~,1Al,Va.
  Plant Address:        855 Caperton 8ouievard
                        N~artinsburg,lM~ 25401
  Ship To Address:
      Truc)c            855 Caperton Boulevard
                        Martinsburg,lM~ 25401
                        Deliveries to dock doors 7-9
                        Phone: (304)260-7186
                        Fax:      (414)566-9555


       Rail:            855 Caperton Boulez+ard
                         Martinsburg,VW 25403

  Plant Contacts
      PaperlNarehousing:                     Phone: {304) 260-7786
                                             Fax:        {414)566-9555


       Electronic Transmissions:             Phone: (4]4)566-6000
                                             infiormation Systems Department

  TranSportatiOn InStrUC#ions
  Martinsburg facility cannot receive short height containers -does not Dave the ability to unload shipment -inside
  height clearance must be ar 3easz 92 inches.

  ~~f~ ~aCPI@P
  CSX Rail

  [?eli~rery Information
  Paper is received at t2uad/Graphics-Martinsburg fac+lity 24 hours per day,7 days per week,and most holidays,
  ~Y ~P~intrraentC3n1y.
  Appaintments for Naartinsburg plant are to be made 4$ hours in advance,Monday through Friday,7:00 AM
  through 5.00 PM,a~ {3p~)2bp-77$6. V1~hen the carrier calls for an appointment,they will be given an appointment
  number.Tt~is number will b~needec~#or offloading of roll stack.

  When calling for an appointment,the PURCHASE C3Rt~ER is rewired to ensure delivery to the correct facility,and
  to accommodate delivery due date,based on receiving paper 24 hours a day,7 days a week.
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  ~ua~lr~hic~ ~~~.
  -~n~ ~a~k,~a.
  Plant Address:           900 ~uplainville Road
                          The Rock,GA 302$5
  Ship To Address:
         Truck             tOD Dupl~inville Road,The Rock;GA 30285
                           Deliveries to dock doors 4-fi
                           Phone: (70b) b48-5233 or {706)64$-5245
                           Fax.         t70b) b48-5811


         Rail:             Norfolk Southern

  Plant Contacts
         Paper Warehousing:                         Phone: {7D6) b48-5233 or {70b)648-5245
                                                    Fax:   {70fi)648-581 i


         ElectronicTransm3ssions:                   Phone: {474)5bb-600Q
                                                    Information Systems Department

  Transportation Instructions
  The Rock facilitycannot receive short height containers -does not have the ability to unload shipment -inside
  height clearance must be at least 92 inches.

  Rail Carrier
  Norfolk Southern

  fleiivery lnfc~rmation
  Paper is received at Quad/Graphics-The Rock facility 24 haurs per day,7days per week,and most holidays,
  By Appointment Only.

  Appointments for The Rock plant are to be made 4$ hours in ad+rante;JYlonday Through Friday,7:Ofl AM through
  x:00 PM;aC{706)648-53.33 ar X705)X48-5245. When the carrier calls for an appointment,trey will be given an
  appointment number.l"his number will be needed for off loading of roil stock.
  When ca(iing #or an appointment,the PURCHASE ORDER is required io ensure delivery to the correct facility, and
  io accommodate delivery due date,based on receiving paper 24 hours a day,7 days a week




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   ~1~lahor»a City,C~k1a.
   Plant Address:      6801 South Sunnyiane Road
                       Oklahoma City,OK 73135
   ShpTo Address;
        Truck          68Q3 South Sunnylane Road
                       OklahomaCity,OK 73135
                       Deliveries to dock doors 4-9
                       Phone: {405)264-4095
                       Fax:     (405)2b4-4166


        Rail:          6801 South Sunnylane Road
                       Oklahoma City,OK 73135

   ~~c~l~~ ~Otl~dCtS
       Paper Warehousing:                 phone: {Qo5)z6~-4o9S
                                          Fax         (405) 254-416fi


        Electronic Transmissions:         Phone: {414)566-b000
                                          information Systems Departmer+t

  Transportation Instruc#iflns
  The Oklahoma City facility cannot receive short height containers -does not have the ability to unload shipment -
  insideheight clearance must be at least 92 inches.

  Rail ~arri8r
  BNS~ Railroad

  Delivery Information
  Paper is received at QuadlGraphics-0klahoma City facility 24 hourslday,7days per week,with the exception of
  some holidays.

  Appointments for tl~e Oklahoma City plant are to be made 48 hours in advance,tvlonday througf~ Friday,$:fl0 AM
  through 4:fl0 PM,at(40S)269-4095. When tt~e carrier calls for an appointment,they will be given an appointment
  numi~ecThis number will be needed for offloading ofroll stock..

  When ~alGng for an appointment,the PURCHASE ORDER is required to ensure delivery to tine correct facility,and
  to accommodate delivery due date,based on receiving paper 24 hours a day,7 days a week




  Version 2.0 1/05                                                                                         ('~U~t~~~
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      ~1rah~~s I~~e
  9~i'" ~~rr~+ercan C'T-1 ~ Tw~a drum Sl~tt+~rl~t~ ind~er
  Sped#ications
       Maximum 1~1~eb Wirth                        96"
       Minimum Width of Unwind Roll                9"
       tv9axirnum Roll DiameCer                    60"
       Maximum Rewird Diameter                     60~
       Unwind Core Diameters                       3"and 6" I.D.
       Rewind Core fliameters                      3"and 6" I.D.
       Minimum Trim Required                       '/a"
       tJ~aximum No.Of Slits Strips                8
       M(nimum WidCh a# Siit Strips                12"
       Slitting Methodll~lrap-around Shear
       Maximum b'~eb Speed                         4000 FPM

  ROIL Wt'd~ S3/5t@lil

           Automated Roll Wrapping
           {accommodates fuN range of diameters)

            Header Press



            Individual orMulti-pack Wrapping

            Kraft or Stretch V~+rapped
  FormaeinformationcallMikeGeorge:Papery✓arehousing,Lomira {920J269-5327orE-mail mgeorge@corpc~graph.com
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                            Na~iona! Rifle Asst~ciation -Quad/Graphics, Ins,
                                                      Integrated Services Agreement



                                               SCHEDU~.E E -Production Schedule
                                                                                                                                                                                                                              08!3012005 4:09:06 PM

~,luadlGraphics,inC:
Schedule for
AMERICAN RIFLEMAN -AMR1

155UE NAME-                                                                         Jan-06        Feb-06       Mar-d6      Apr-08       May-06       Jun-06       Jui-06        Aug-08       Sep-06       Oct-OB         Nov-06        Dec-06       Jan-07
JOB NUMBER                                                                          A50JLD0       ASOJLEO      A605JF0     A605JH0      A605JJ0      A6D5JK0      A605JL0       A605JM0      A605JN0      A605JP0        A605JR0       A6D5J70      A605JU0


Sc;~ns z~ L~a~~rs Due at tluad --                                                   11/02/05      12/07/05     01/10/06    02/06/06     03/07/06     04/05/06     05/05/06      06/05/06     07/05!06     08!08106       09/06/06      10/10/06     11/06/06
HI-Res D~~e at Customer               ~                -                            ',1105/05     12/09/05     01/12/06    02/08/06     03/09/06     04/05/06     05/08/06      06/07/06     07/07/06     OS/10/06       09/08/06      30112/06     11/08/06
S~a:tcr Froof Out to Customer             -                                         '~ 1!0505     12/09/05     01/12/06    02/08106     03/09/06     04105/06     05/08/06      DE,~07/06    07!07/06     08/10/06       09/08/06      10112~OG     11/08/06
p _,r, ~ I ~ Guy at C~ad,PL1,                                                       1111"r105    ` 12/22/06    01/23/06 ~ 02117/06      03120/Oo'„ 041Y$/06 -     05122(06;;;
                                                                                                                                                                    .~.
                                                                                                                                                                                 ~F~~16i06   Oi!1l~06p~'~ 08/21106~~'.   09/191D8      10J23/06.'.;~ 11/17/06
Proofs Due Ou; to (;~i4t~m~ ,A:.9)-                                                  1/21/05      12/27/05     01/26!06    02/23/06     03!23/06.    04/21/06     05/25/06      06/21706     07/20/06     08/23106       09/22/06      .0/26/06     i 1/21106
Proofs Arrive at Customer(AM)                                                       11/21/05      12/27/05     01/26!06    02123/06     03/23/06     04/21/06     05!25/08      06/21/06     07/20!06     08/23/06       09/22/06      10/26/06     11/21iC6
Proofs Due Back at Quad (PM)                                                        11/28/05      12/29/05     01!30/06    02127/06     03/27/06     04124!06     05130!06      06/23/06     07/24/06     08125!06       09/25106      10130/06     1?l27/G6
DBL Proof:Out toCustbmer (AM).                                     ~               < 11/29/05     01/04/06     02/01/06    03/01/06     03/29/06     04/26/06     05/31/06      06/26/06     07/26/06     08129!06       09127/06      11/01/06     11/28106
DBL Proofs Arrive at Customer (AP:11                                                11/29/05      01/04/06     02/01/06    03101/06     03/29/06     04/26/06     05131/06,     06/26/D6     07/26/06     08129!06:      09/27/08.     11/01/06' 11/28!06
DBL Proof Back at C~uad (N,~11                                                      11/29!05      01!04/06     02/01/06    03101/06     03/29/06     04/26/06     05/31/06      06/26/06     07/26/06     08/29/06       09/27/06      11/01106     11/28/06
Confirming DRI_s.,,.~r~ved ~i~,~ic~~                                                1~130l05 :.' 01!05/06      02/02/06    03/02/06 "   03!30/06     04127/06.    06/O~106      06127!06     07/27106..   08!30106       09/28/06..;   11/02106     11!29/06
Plate Rr ~~'y f=iles r'.~e at (]uad                                        _        11/30/05      01/05/06     02!02/06    03/02!06     03/30/06      ~ = 2710E   06/01/06      06/27/06     07/27/06     08/30/06       09128!06      11/02!06     11/29106
PRESS
Print ~oc,.:~on                                                                     (HE ROCK THE ROCK THE ROCK THE ROCK THE ROCK THE`R(7GK THE ROCK THE ROCK THE ROCK THE ROCK THE ROCK THE ROCK THE ROCK
                                                                                   '1/21105  12/27!05 01/24/06 02/21/06 03/21/06 0411$/OG  05/231D6 06/19/06 07/18/06 08/21/06 09/19/06 10/24106 '11/20/06
                                                                                                                                                                                                                                                                 Case 21-30085-hdh11 Doc 106 Filed 02/04/21




PrintGrder uue
Pages 2 • 4                                                                         ,OVER-4  COVER-4  COVER-4  COVER-4  COVER-4  COVER-4 COVER-G    COVER-4 .COVER-4  COVER-4  COVER-4 COVER-4 COVER-4
Pages 2 x ~                                                                         `30DY-24      BODY-24      BODY-24                               BODY-24      BODY-24       BODY-8       BODY-32       BODY-16                     BODY-24      BODY-2h
Pages 2 x 3                                                                        - 04           64           64          96           96           64           64            96           96            920           96            64           64

Press S:ar                                                                          '2/01/05      01/06/06     02/03/06    03/03!06     03/31/06     D4128/O6     06/02/06      06/28/06     07/28/06      0613"{/OE     09/29/06      11lfl3706    11/30/06
ASSEMBLY
Inserts Due                                                                         11/25/05      12/30/05     01/27/06    02/24/06     03/24/06     04/21105     05/26/06      06/21/06     07/21/06      08/24106      09/22/06      1012~i06     11/24106
Assert ble'~'✓t~~,                                                                  ~a5-OJLF      AS-0JLH      A6-OSJV     A6-05JW      A6-05JX      A6-05JY      A6-D5K0       A6-OSK~      A6-05K2                     A6-0SK4       A6-05K5      A6-OSK6

POOL CYCLE                                                                          06038         0608A        06128       06168        06208        06248        06298         0633B        06388         06428         06468         0651A        07038

NOn~Prcd F:d,~ Fil,=s Duo to ~%Dj_                                                   11/29/05     01703/06     01/31!06    02/28106     03!28/06     04/25106     05/30/06      06/27/06     07/25/06      08;29/06      09/26/06      10/3 706      11!28/06
FilesRra~gatQD~                                                                      12/02/05      01/06/06    02/03/06    03/03/06     03/31/06     ~4128f06     06/02/06      06/30/06     08/04/06      0919?/06      09/29/06      99/03106      12/01/06

Pnsta:,e C~•~e Date                                ~                                 12/07/05      01/10/06    02/08/06    03108/06     04/05/06     0510310E     D6/07/06      07/05/06     08/09/06      08/06/06      10/04/06      19107/06      12/06/06

Siad:;i~ir~Date                                                                    ~ 12/11/05      01/13/06    02/12/06    03/'2/06     04/09/06     Q5f071a6     06/11!06      07/09/06     08/13/06      ~91fia(06     10/08/06      11/10106      12/10/06

   Hocie Star Date ,.-                                                               12/21/05      01/23/06    02/22/06    03/22/06     04/19/06     05/17/06     06121!06      07/19/06     08/23/06      0912fl/06     10/18/06      11/20/06      12!20/06
                                                                                                                                                     05/20106     06/24/08      07/22/06     08/26/06      09!23/06       10/21/06     11/24106      12!23/06
                                                                                                                                                                                                                                                                 Entered 02/04/21 12:48:46




In-Ho~n~ End Date                                              ~                     12/24/05      01/26/06    02/25/06    03/25/06     04/22/06
 Quent~,ty                                                                     ~     1,418,000     1,418,000   1,418,000    1,418,000    1,418,000    1,418,000    1,418,000    1,418,000    1,418,000     1,418,000      1,418,000    '1,418,000    ?,418,000

BULK
 star; Ship La',c                                                                    12/15/05      01/13/06    02/10/06    03I~0/06     04%D7/06     05/12/06     06/09!06       07/07IG6     D8111106     09/08106       10/13/06     1'111006      12;08106
 On-_31c Ga;~                                                                        01/03106      01/31/06    02!28/06    03!28106      04/25/06    05/30!06      06/27/06      07/25/06     D8129/06     09/26/OE       10/31/06     11/28/06      12/26/06
                                                                                     CLARK         CLARK        CLARK       CLARK        CLARK        CLARK        CLARK         CLARK       CLARK         CLARK         CLARK         CLARK         CLARK
 ~E tination                                               ~           ~             PICK-UP       PICK-UP      PICK-UP     PICK-UP      PICK-UP      PICKUP       PICK-UP       PICK-i.IP   PICK-UP       P(CK-i~F'     PICK-UP       PICK-i~P     'PICK-UP

 Uu=,nnt;                                     ,,                                     14,000        14,000       14,000      14;000       14,000       14;000       14,000        14;000       14,000       14;OOfl        14,000        34,000       14,000
                                                                                                                                                                                                                                                                 Page 68 of 77
                                                                                                                                                                                                     08/30!2005 4:09:06 PM

  Quad/Graphit~~ lnc:
- Schedule for
  AMERICAN HUNTER - AMHi

  I5SUE NAME                                          `- Jan-06        deb-06       Mar-06       Apr-06      May-06       Jun-C6        Jul-06       Aug-OB         Sep-06       Oct-~6          Nov-06       Dec-06       Jan-07
  JOB NUMBER                                             ~.SCJLFO      A50JLH0      A605JV0      A605JW0     A605JX0      A605JYb       A605K00      A6~5Ki0      ' A605K2D      A605}{30        A605K40      A~OSK50      A605K60
  BATCHlFOf2M #
  Scans U Lasers Dua ~t uuad                             ~ 1/03/05     12/13!05      01/12/06     d2/07106    03/09/06    04/06/06      05!04/06    06106!06      07105/06       08109/(36       09/08/06   10i1~/06    11/08/d6
  Hi-Res D~"=~ -~t;;ustorner                           '.1108/05       12/15/05      01/14!06     02/09/06    03/13/06    04/10!06      05/08/06     06/08!06     07/07!06       08/11/06        09/11/06   10/13/06    11!10/06
  Scatter i~ ~.,~ O~:t ~e GustoTer                     11/08/05        12/15/05      01/14/06     02!05106    03/13/05    OA/10106      05/08/06     06~0$i":"~   07/07/06       08/19/06        09/111D6   10/13/06    11/10/06
  Page FiieS Due 'll~,<:~; (PP~1~                      S 11,1$105      12123/05„” 01/25/06',' ! 02/21/06 "" 03/21106 -~~' 04/19/06      05/24106 `~ 061~19i0h     07118106=-'    08I22i06r,      09/20/06 - 10/24/06. ~ 11/20/06
  Proofs Due Ou: to ~~~:~~~~r~~~ r iP.^:ii              '~ 1/22/05 ~   12129!05       01/27/06    02/241D6    03/24/06    04/21/06      05/26/06     06/22~J~,    t~7/21106      08/25/06        09/22/06   10/27/06    11/22/06
  Proofs Arrive at Customer(AM)                        11/22/05        12125/05       01/27/06    02!24/06    03/24/06    04/21/06      05/26106     06/22/06     07/21;06       08/25/06        09/22/06   10/27!06    11122!06
  Proofs Due Back a: Quad (PM)                         11!28/05        01/03/06       01131/06    02/28/06    03/28/06    04/25/06      05/31/06     06/26/06     07/25/06       08/29/06        09/26!06   10131!06    11/28/06
  DBL Proof OU±~to CUstorrie~'(AM?                     11/30/05        0/05106        02/02/06    03!02/06    03/30!06    04/27/06      06/01/06     06/28/06     07/27106       08/30/06        09/28/06   11/02/06    11/30/06
  DBL Pro.f5 ~,r~:lvu at Custor~~r t.~~:11                ~ 1130/05    01/05106 ~~:~. 02/021D6 -' 03/02/06 "- 03!30/06 ~; 04127/06_."   06/01/08 .~„ 06/28/06      )i':7 06 -~   08130/06 ~      09/28/06   71102/6     91130106..
  DBL Proof ~ac~, a quad iP~'vtj `                     " 130/05        01/05/06       02/02/06    03/02/06 ~ 03/30/06     04/27/06      06/01/06     06!28/06     07!27!06       08!30/C '       09/28/06   11/02/06    11/3b/06
  Coyfirming DBLs r,, _ ~ ,ed Or~',ine                 '2/01/05-       01/06/06       02703/06    0?!Q~'06 ~ 03!31106 - ~ 04i2R!06      06/02/06 .: Q6!"9~OF      07/28/06 N ~   08131!OG        09/29/06   17Y03~06    12/01/06
  Plate Ready Fil~=- 'u~. ~t ~~~uad               ~      12/01/05      01/06/06       02/03/06           ~6   03/31/06    04/2;;: -•.   06/02!06     C" ~" _'_    07/28/06       08 _'           09/29/06   11/C; "_~i) 12!09/06
  PRESS
  Print Lo :~:icr                                        ~HE ROCK      THE ROCK     THE ROCK     THE ROCK    THE ROCK THE Rt7CK         THE ROCK     THE POCK      THE ROCK      HARTFORD THE F20CK THE ROCK               THE ROCK
                                                                                                                                                                                                                                        Case 21-30085-hdh11 Doc 106 Filed 02/04/21




   PrintO-~ ~r Uae                                      11/23/05       12128ID5     01/25/06     02/22106    03122106 04119106          05/24/06     06!20!06      07(19106      08!23!06 09/20/06  10/~5t06               '-1/22;06
   Page~•_'x                                            ';OVER -4      COVER -G     COVER -4     COVER -4    COVER -4 COVER -4          COVER -4     COVEP.-4      COVER -4      LOVER -4 COVER -4 COVER -4                COVER -4
   p7ge:, 2 r :1                                        30DY 24        60DY 24      BOGY 24      BODY-24              BODY 24           BODY-24      BODY-24       BODY-32                          BODY-24                BODY-24
                                                        ~;4            64           64           64          96       64                64           96            128           160      96        64                     64
   Pages 2 x °
                                                         12/03/05      01/07/06     02/04/06     03104/06    04!01/06     04/29106      06/03/06      06/30/06     08/02/06      09!01/06        09/30/06     111041{35     12Io2/06
   Press ~:a
   ASSEMBLY
                                                         11/25/05      12!30!05     01/27/06     02/24/06    03124/06     04129106      OSI26/U6      06I21~06     07/14106      0$!24108        09/22/06     1p727lfl8      11/24/06
   Inserts Cue
   Asses ble ~Vit'~:                          ~          A5-OJLD       A5-OJLE      A6-05JF      A6-OSJH     A6-0511      A6-05JK       A6-OSJL       A6-05JM      A6-05JN                       A6-05JR      A6-063T      ~ A6-Q5JU
                                                         06038         0608A        06128        06168       06208        06248         06298         06338        06388         06428           06468        065'IA        07038
   POOL CYCLE
                                                         11/29/05      011D3/06     01/31/06     02/28/06    03/28/06     04!25706      05/30/06      08127106     07/25/06      08129/06        09/26/06     10131!06      19128106
   Non.Pro:'~ Rdv Fi     . L~,~e t._ ~~.'U~
                                                         12/02/05      0?/06106     02/03/06     03/03/06    03!31/06     04!28106      06/02/06      08(3fl106    0810/06       091fl1/ff1Gfi   09129/06     11/03/06      12/01!06
   Files Rea~~; a' u~DS
                                                         12/07/05      01/10/06     02!08/06     03/03/06    04/05/06     OS/a3/08       06/07/06     07!05/06     08/09/06      09106Ib5         10/04/06    11!07/06      12/06106
   Postage G,~c Ga[~:
                                                         12/11/05      61,`13/06    02/12/06     03/12)06    04/09/06     05!07106       061 1/06     07/09106     08/13/06      09/10/06         10108/06    11/10101      12/10106
   Start'Shin Date
                                                         12/21/05      0;123106     02/22/06     03/22/06    04/19/06     05/17/06       06121106     07/19/06     08/23/06      09!20/06         10/18/06    91/20106      12/20/06
   In-Horic Star; Datf~
                                                                                                                                                                                                                                        Entered 02/04/21 12:48:46




                                                         12124!05       01/26/06    02/25/06     03/25/06    04/22/06     05/20/06       06/24/06     07/22/06     08!26106      09/23/06         10/21/06    1~i24/00      12/23/06
   In-Non      End Date
                                                         1,043,000      1,043,000    1,043,000   1,043,000    1.043,000    1,043,000     9,043,000    1,043,000     1,Q43,000     1,043,000       1,043,000    1,043,000    1,043,C00
   Quar~:it:
   BULK
    ~;~~,;;~i,p p~i,~,        ~                          12/15/05       01/13/08    02/12/06     03/10/06     04/07/06     05/12/06      06109/D6     07!07/06     08/11106       09/08/06        10/13/06     1~I10I06     12108lD6

                                                         01!03/06       01/31/06    02/28/06     03/28/06     04/25/06     ~5/301D6      06/27/06     07/25166     08/29/06       09/26!06        10/31/06     11/28/06     12/28/06
    ~n-5~;~ Da',~
                                                         CLARK          CLARK        C~P,RK      CLARK        CLARK        CLARK         CLARK        CLARK         CLARK         CLARK           CLARK        CLARK        CLARK
                                                         PICK-UP        PICK-UP      PICK-UP      PICK-UF'    PICK-UP      PICK-UP       PICK-UP      PICK-UP       PICK-UP       PICK-UP         PICK-UP      PICK-UP      PICK-UP
   D~ r.;ination
   Quah'ity                                              14,000         14,000       14,000       14,000      14,000       14,Ofl0       14,000       14,Ofl0       14,000        14,000          14,000       14;OOD       14,000
                                                                                                                                                                                                                                        Page 69 of 77
                                                                                                                                                                                                  0$130/2005 4:14:36 PM




GluadlGraphics,lno.
-Schedule for


 AMERICA'S FIF25T FREEDOM - AME158


 ISSUE NAME                                    Jan-06      Feb~OS        Mar-06         Apr-06       May-06         Juh-OS        Jul-06         Aug-O$'         Sep-06       pct-b6         Nov-08       DaC-06       Jan-07
 JOB NUMBER                                    ASOJLJO     ASCJLKO       A605K70        A605K80      A605K90        A605KA0       A605KC0        A605KD0         A605KE0      A605K~0       A605KH0       A605KJ0      A6051{KO
 BATCH/FORM #
 Page Files Due :it Quad (P^Ai                 11/221b5 ';; 72,29/05 "r_ 07!27/06       02~271~b -   03r24/OG - - p4i21106      -: 05126106.':   0^   ;'D6       07/21/06     08!,25/06.    09/22/06 _,.- ~Oi2' :~~    11/22!06


 Proofs Due Outto_Customer(AM)                ~11I23/05    01/04/06      02/01/06       03/01/06     03/29!06        4~'26iG6     05/31/06       06/27/06        07/25/06    (E~-2"+r~~6    09/26/06      10/31/06     11!27106
 Proofs Arrive at Customer(AM)                 11/23105    01!04/06      02/01/06       03/01/06     03129/06       04126r`D6     05/31/06       06!27/06        07/25!06     0~I:29I06      D9/26/06     10!31/06     1 9127106
 Proofs Due Back at Quad (PM)                  11/29/05    01/06/06      02/03/OB       03/03/06     03/31/06       04/28/06      06/02/06       06/29/06        07/28/06     03/31;06      09/29/06      11/02/06     11/30106
 DBL Proof_Out to ~ ~ ;tourer (A1"~)          '2101/05     01/09/06      02/07/06       03/06/06     0 ~'0=~l06     ~~~~CLIG6     O6/06106       06/30/06        07!31106     09/01/06       ~ OIO~i~~6   ? 1106/06    12I04lG6
 DBL Proofs Arrieu ~.. ~u,.on ~~ ~n'~';        12/01105    01/09/06      02107/06, _ ; 03/06/06      0410G1OG:      05/0~'"~    ~ ~6106~G6 ~     0613C,'OF       07/31/06 :~:= 09/01/06'     1DI0310~     11/06/06     12/04/06
 DBL Proof-BacE. &i C;1uad (P`,;1              '.2/01/05   01/09/06      02/07/06       03/06106     04/04/06       051U- ~_      ~610o106       0 `.~ ..        U7J31/06     09101/C~~      10!03/06     11/06/06     12/04!06
 Confirming DBL~, F~~ ~ .~~ed Onlice           12/02/05 ~ 01/10/08      > 02108/06~~~   03/O7/O6 ,,; :- -    `~`~        ;~ ~     '~`: ~ "~i;G   ~~~ ~~.,,Ou -   08101/06   - 09/05!06     - 1p10411)6,   11!07/06 ~   12/05106.
 Pate P,~ ~d; Fibs sue at Quad            ~    ~2/02I05    01/10/06      02/08/06       03/07/06     ~J4/05/06      051C3I0~      06/07/06       07/03/06        08/01/06     09/05/06        0!04/06     11/07/G6     12/05/06
                                                                                                                                                                                                                                   Case 21-30085-hdh11 Doc 106 Filed 02/04/21




 PRES5
 Print Lo:.<atisr                              i"HE ROCK THE ROCK THE ROCK THE ROCK THE ROCK THE ROCK THE ROCK THE ROCK THE ROCK THE ROCK THE ROCK THE RUCK THE ROCK
 Print Order Dc~                               11/25/05  01/02/06 01/30/06 02/2716  03/27/06 04124/06 05/26/06 06!23!06 07/21/06 08/25/06 D9122/06 1g127906 11i24/C6
 P~;:;e~ ? >: ~                                ;OVER -4 COVER -4 COVER -4 COVER -4 COVER -4 COVER -4 COVER -4 COVER -4 COVER -4 COVER -4 COVER -4 COVER -4 COVER -4
 F'ay•s 2 r; 4                                              BODY-8                      BODY-8       BODY-8                       BODY-8         BODY-8          BODY-8       BODY-16        BODY-8
 pc3 c;~s Z x. ~                 ~~            54           64           64             64           64             84            64             64              64           6d             64           64           64
 Press S:ac                                    12/06/05     01/1 1/06     D2/09/06      03/08706     04/05106       fl5103106     06/07/06       07105/06        08/02/06     09/06/06       10/04/06     11JD81Q6     12/06/06
 ASSEMBLY
 Insert:; Dee                                  11/29/05     01/03!06      02/01/06      0310'1-106   03/29/06       041~6f06      05/31/06       06/28106        07!26106     081'30/06      10/02/06     1'11Q'1}O6   11/29/06
 Asser; `.~Ic a^11th                           AS-OJLA      AS-OJ~C       A6-0514       A6-D5J5      A6-0516        A6-0517        A6-0518       A6-0519         A6-05JA      A6-0510        A6-0SJD      A6-05JE      A6-OSLF

 POOL CYCLE                                    )6038        0608A         0612B         06168        06208          06248         06298          06338           06378        06428          0647A        0659A        07038

 Non Prt d P.dy Fig.-~ Due to QiDS             11129!05     01/03/06      01/31/06      02/28/06     03128/06       04l251~6      05!30!06       06127/06        07/25/06     08/29/06       09/26/06     1013"!106    11;28/06

 FilesF:~r~dv at (~;DS                         12102/05     01/06/06      02/03/06      03103/06     03/31/06       04/28106      06!02106       06I3DID0        07/28/06     09/0 f106      10!06!06     11/03708     12/01/06

 F ~ ,taco Vu^ Dati                            12/07/05     G1710/06      02/08/06      03/08/06     04/05/06       OS/03!06       06/07/06      07/05/06        08/02/06     09106/06       10!10106     11/07/06     12!06;06
                                                                                                                                                                                                                                   Entered 02/04/21 12:48:46




 St-.d Ship Da:e                                12/11/05    01!13106      02/12/06      03/12106     04/05/06       05/07/06       06/11/06      07/09106        08/06/06     09/10/06       10/13/06     11/1DI06     12!10106

  In-Home Start Date                            12/21/05    01/23/06      02/22/06      03/22/06     04/19/06       05!17!06       06!2'1106     07/19!06        08/18/06     09/20/06       10!23/06     11/20/06     12/20/06

 In-HomF Fod Date                               12!24!05    01/26/06      02!25/06      03/25/06     04/22!06       05/20/06       06/24/D6      07/22/06        08/19/06     09/23/06       10/26/06     1112/06       12/23/06

  Quan;i!~;                           _        473,000      473,000       473,000       473,000      473,000        473,000        473,000       473;000         473,000      473,~Op        473,000      473;000      473,000
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 Quad/~raphics,lnc.
:Schedule for

:WOMAN'S OUTLOtSiC NRA - WOM118

ISSUE NAME                                         Jan-06        Feb-06        Mar-06        Apr-06          May-06        Jun-06        Jui-06       Aug-Ofi       Sep-06        Oct-08        Nov-06        Dec--06       Jan-D7
JOB Ni~'eiE[R                                      ~.50JLA0      A50JLC0       A605J40       A6dSJ50         A605J60       A605J70       A605J80      A605990       A605JA0       A605JC0       A605JD0       A60`~~+~      A605LFC
BA7CHiFORM #
Page Files D~r~~ a~ Ocac (F'1~                          ~' X05 ~ 12/28/05 < 011261Ofi         02!2~i/OB      03!23/06 ._' 04/2Q'~~- ~.     05125!06      ~~ ~~:'    07/20106 -:   Q8. ~^~    0912-1/06 , < "~ ~ ; ,~ ~ c'   11/2~I06
ProofsDue Out to Customer (AM)~ _                  '~ 1123/05    0'1104106   02/01/06         n21Z~iD6       03/28!06     04!25!06         05%3t~IG6 0       ~~:~   07/24/06      08/28/06   09/26/06      ~013'~ ~3        ~ 1127/06
Proofs Arrive at Customer(AM)                      11/23/05      01!04106    02/01/06         02;28106       03!28106     0425106          05/30!06  0~~~~;uG       07/24/06      08/28/06   09/26/06      10i 1i0G         11/27/06
Proofs Due Back at Quad (PM)                       11/29/05      01/06/06    02!03/06         0310//06       ~3/30r05     04127!06       1 06i~1i06  06/29/06       07/26/06      08/30/06   09l`Lc~;06    11/02/06         1 `~129~0&
DBL Proof0ut to Customer(AM)                  ~    12/01/05      01/09/06    ~2i061~o         03/06/06       04/03/06     05/01/06         06/05/06  06/30/06       07/28/06      09!01106   10/02/06      11/06106         12/04/06
DBLProofsArri~v~ ,.~~_to~,~:riP,~`,~11             12/01!05      09!09/0~~ ~`Oz    ...      ~ D310~/06~~~'   04103/0605101/06              06/05I06~06/30I06 ~      07/28/06      09/01!06   10/02/06. 11/06/06             12!04106
DBL ProofBack at ~]uad (P~11)~.~                   ',2101/OS     O~l~a~~~~   02               03/06/06       04/03/0605101106              06/05/06  06/30!06       07/28/06      09/01/06   10/02/06      11/06/06         12104/06
Confirmmp L,~L i~N~ >>~d Orl~nc                    12/02/05 ..; 0'~Jt ,106   U2      ~s~~     03/07/06       04/Od/06     05/02/06         n6i06/06  07/03r',)~~    07/31/06      09/05!06 ~ 10!03/0&      11/07/06         12/05/06
Plate ~;c~~d~ Files due ai O~iad                   '2102/OS      01!10/06    02!07106         03/07/06       04/04/06     05/02/06         OG~06,'D6 07!03!06       07!31106      09/05/06   10/03/06      11107106         12105/06
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Prinf~OrderDue                                     ';1/25/05 01/02/06          01/31/06      02/27/06        03/27/06 04/24/06 05/26/06               06/23/06 07/21/06 08/25/06                D9/22106 10J2~106           11/24/06
                                                                                                                                                                                                                                         Case 21-30085-hdh11 Doc 106 Filed 02/04/21




Pages ~ x: 4                                       COVER-4 COVER-4             COVER-4       COVER-4         COVER-4 COVER-4 COVER-4                  COVER-C COVER-4 COVER-4                   COVER-4 DOVER-d             COVER-4
Pages 2 x 4                                        BODY-68   BODY-80           BODY-72       BODY-72         BODY-72  BODY-72  BODY-72                BODY-72  BODY-72  BODY-72                 BODY-72  BODY-72            BODY-68
 Press St~C                                        '2/05106      0 110106      02/08/06      03/08/06        04/05/06       OS/03/06      06/07/06    07!05/06      08/02/06      09106/06      10/04/06 11108106           121D5106
 ASSEMBLY
 Inserts Du~~                                      ~ 11/29/05    01/03/06      02/01/06      03/01/06        03/29/06       04126/06.     05/31/06    06/28!06      07/26/06      08/30/06      09/27/06      1110"1106     11!29/06
 Assemble b'J,tr                                     ~,5-OJLJ    A5-OJLK       A6-05K7       A6-OSKS         A6-05K9        A6-05KA       A6-05KC     A6-OSKD       A6-05KE       A6-05KF       A6-05KH       A6-05KJ       A6-05KK
 POOL CYCLE                                          )6038       06088         06128         06168           06208          08248         06298       06338         06378         06426         0847A         0651A         0651A
 Non Fr~~c Rdy Flli~ Due to Q%DS ~                   11/29/05    01/03/06      01/31/06      02/28/06        03/28/06       04/25/06      05/30/06    06/27/06      07/25/D6      08/28/06      09!26/06      10/31106      11/28/06
 Fi!es Rcadr~ at C)~DS                            _ 12/02/05     01/06/06      02103/06      03/03/06        03/31/06       0412$106      06!02106     06/30/06     07/28/06      09I0~/06      10/06/06      11f03108      12/01/06
 F o~tagE~ D~.,e D_~*c                               12/07/05    01/10!06      02/08/06      03/08/06        04/05/06       05/03/06      06/07/06     07105!06     08/02/06      09/06!06      10/10/06      11~~7l06      12/06/06
 Start Ship Date                                      12/11/05   01/13/06      02(12/06      03/12/06        04/09/08       05/07/08      06/11/06     07/09/06     08/06/06      09/10/06      10113/D6      11~9{~lOFi    12110/06
 !n-Homy Start D~.:e                                 12/21/05    01/23/06      02/22/06      03/22/06        04/19/06       05/17/06      06/21/06     071191p8     08/16/06      09/20/06      10/23/06      11/20106      12/20/06
 Ir,-h~~om~~ End Date                                12/24/05    01/26/06      02/25/06      03/25/06        04/22/06       05/20/06      06/24/06     07/2210E     08!19106      09123/06      10/26/06      11/24/06      12123/06
 QuanS,v                                             53,000      53,000        53,000        53,000          53,000         53,(300       53,000       53,000       53,000        53,000        53,000        53,000        53,000
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 BULK
 Start~r~~pDat~~                                    12/15/05     01!20/06       02/17/06      03117/06       04/07/06       09112/06      06116/06     0711#106     08/11/06      09!95106       ~O/13106      11/17JOE     12I~5/06
 On-S~!r~ Datc                                      01/03106     02!07106       03/07/06      0410x/06'      04/25/06       05/30/D6      07/04/06     D870'1106    08/29/06      9D/03t06       10/31/06      12!05/OB     01/02/07
                                         ,.         CLARK        CLARK          CLARK         CLARK          CLARK          CLARK         CLARK        CLARK        CLARK         CLARK          CLARK         CLARK        CLARK
 Ces:in; cion                                 ~     PICK-UP      PICK-UP        PICK-UP       PICK-UP        PICK-UP        PICK-UP       PICK-UP      A1CK-UP      PICK-UP       PICK-UP        PICK-UP       PECK-UP      P1CK-UP
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                                                                                                                                                                                                                                         Page 71 of 77
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                            National Rife Assc~ciati~n - QuadJGraphicsj Inc.
                                                      Integrated Services Agreement



                                                  SCHEDULE F -Holiday Schedule
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            National Rifle Association
            Integrated Services Agreement
            Schedule F — QuadJGraphcs Holiday Schedule*



            New Year's Day                                                          7 a.m. January 1 to 7 a.m. January 2nd
            Founder's Day                                         2nd Sunday ire January, 7 p.m, Saturday to 7 p.m. Sunday
            Easter                                                                        7 a.m. Sunday to 7 a.m. Monday
            Memorial Day                                                                 7 a.m, Monday to 7 a.m. Tuesday
            Independence Day                                                                  7 a.m. July 4 to 7 a.m. July 5
            ~}~a~ ~~y                                                                    7  a.m, Monday to 7 a.m. Tuesday
            Thanksgiving Day                                                              7 a.m. Thursday to 7 a.m. Fxiday
            Christmas Eve Day                                                  7 a.m.. December   24 to 7 a.m. December 25
            Christmas Day                                                      7 a,m. December 25 to 7 a.m. December 26
            New Year's Eve Day                                                     7 a.m. December 31 to 7 a.m. January 1




            * Holiday periods are subject to change by management. Holiday period will be celebrated when possible by all
              employees on tt~e day and night of that holiday, except for Easter and Founder's Day. Easter wafi be oc1 7 p.m.
              Saturday shift and Easter Sunday day shift. The Founder's Day holiday will be determined each year by tha
              President and may change from time #o time.                                                     3


            August 22, 2.005                                   *~*DRAF'1'~~~                Holiday Schedule ~lpclated May:2004
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                            National Rile A~socia~ion - QuadJGraphics, Inc.
                                                      Integrated Services Agreement



                                             SCHEDULE G —Payment Terms Letter




                                                          ~uad~.~~          ~~~,~~a
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        ~~d~~f~ ~.~~~~~c                                                                  N63 VU23075 t~~ain St.
                                                                                                    Sussex,lNl
        November 2, 2005                                                                            53089-2827
                                                                                              tei 414.566.6000
        National Rifle Associa#ion
        Attn: Ms. Lisa George
        NRA Director ofPurchasing
        11250 Waples Mill Road
        Fairfax, VA 22030

        Dear Ms. George:

        This letter is to conform credit payment terms for NRA's publications print orders with
        Quad/Graphics, Tnc. Credit payment terms are as follows. Looking forward to working with you.

             MFG — DLTE 1% 10 DAYS FROM IlVVOIC$ DATE OR NET 45 DAYS FRflM INVOICE DATE


                                    PAPER — WILL BE SUPPLIED BY CllSTOMER


                      MISCELLANBOI3S INVOICES — DL1E NET 30 DAYS FRC?M INVOICE DATE


                 PER i.C.C. REGULATIONS,FREiGT3T — T)UE NET 10 DAYS PItflIv1 INVOICE DATE.


        Should #here be a substantial adverse change in Customer's credit standing so that QuadlGraphics
        has reasonable grounds for insecurity wi#h xespect to Custamer's compliance with. the credit terms
        ofthis Agreement, QuadlGraphics has the right to request adequate assurance of due performance
        from Customer, and Customer shall furnish such assurances promptly to QuadlGraphics.

        Please sign copy of#his letter and return to my at#enti~n via fax(414)566-9415. We will send
        invaices electronically to Mike Sanfoxd's attention MSanford@nrahq.org, unless instructed
                                                                                                     reach
        otherwise. QuadlGraphics reserves the right to assess a service charge for all balances that
        30 days past the #erms ~fpayment, it is our expectation that any undisputed pflrtions of d~spu#ed
        invoices will be paid according to the credit terms abav~,

        Thank yc~u for your cac~peration in this matter.. If you ever geed   y assistance, please feel free to
        call me at(414)566-272,

         Sincerely,                                     I agree io the payment terms as stated above.

         Nina Smith
         Ni~ia Smith            ~                       Namel'I"itle:~d~ts.+~ri'~~~~ // Z~'~'S"
         Credit Department                                         Ac
                                                                    , c~pted by:        Date
         QuadJGra~hics, Inc,.                                       /~!~-f~.✓ /5~* ~~cc.~,S .?.~,,,.
                                                                 Pleasc print ~iaiiae
         Cc:'Tom.. Wilson — Qi2acUSales
         Quad/Contract De~~artment
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                            National Rile Association - Quad~Gr~phics, Inc.
                                                      integrated Services Agreement



                                                   ~~HEDU~.E N -Multi-Bind Terms.




                                                           C~a~~~~~           I~~
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                                         i   '         !• 1          f



             Customer may,from time io time, participate in QuacUGraphics' Multi-Bind
     Program("MBP")whereby two or moxe of Customer's tiles will be assembled on the
     same finishing equipment and pre-sorted together in a single mail stream. Such
     participation shall. be subject to the terms and ct~nditions contained in this Schedule.

          1,       Term and. Termination. Customer may terminate participation in the
     MBP with at least thirty(30)days' advance written notice to Quad/Graphics.

            2.    Scope. Frain the Effective Date until such time as participation in the
     MBP is terminated or modified by Customer,the MBP will include the titles listed
     belaw.

                    Group One.

                    American Rifleman and American Hunter

                    Group Two:

                    America's lst FreQdom and Woman's Outlook

     In the event Customer wishes to change the scope cif the MBP by adding titles, changing
     the make-up of the groups, coanbining the groups or changing the manufacturing
     specifications flf the titles iz~volveci in the 1VISF, Q~adlGraphics wi11 use commercially
     reast~nable efft~rts to accommodate such changes, subject to QuacUGraphics' schedule and
     equipment. availability. If any proposed change in manufacturing specifications results in
     a change in pricing or schedule, Quad/Graph cs u~ii1 notify Customer as soon as
     practicable and QuacUGrapl~ics will +obtain Customer's approval befflre effecting tl~e
     change.
